       Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 1 of 61



Lori Rifkin, Esq. (CA # 244081)              Craig Durham (ISB # 6428)
(pro hac vice)                               Deborah Ferguson (ISB # 5333)
HADSELL STORMER & RENICK LLP                 FERGUSON DURHAM, PLLC
4300 Horton Street, #15                      223 N. 6th Street, Suite 325
Emeryville, CA 94608                         Boise, ID 83702
Telephone: (415) 685-3591                    Telephone: 208-345-5183
Facsimile: (626) 577-7079                    Facsimile: 208-908-8663
Email: lrifkin@hadsellstormer.com            Emails: chd@fergusondurham.com
                                                     DAF@fergusondurham.com
Dan Stormer, Esq. (CA # 101967)
(pro hac vice)                               Amy Whelan, Esq. (CA # 215675)
HADSELL STORMER & RENICK LLP                 (pro hac vice)
128 N. Fair Oaks Avenue                      National Center for Lesbian Rights
Pasadena, California 91103                   870 Market Street, Suite 370
Telephone: (626) 585-9600                    San Francisco, CA 94102
Facsimile: (626) 577-7079                    Telephone: 415-365-1338
Email: dstormer@hadsellstormer.com           Facsimile: 415-392-8442
                                             Email: AWhelan@NCLRights.org

Attorneys for Plaintiffs




                            UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF IDAHO
ADREE EDMO (a/k/a MASON EDMO),              Case No.: 1:17-cv-00151-BLW

                   Plaintiff,
                                            SECOND AMENDED COMPLAINT
       v.
                                               1. Failure to Provide Medical Treatment (8th
IDAHO DEPARTMENT OF                               Amendment)
CORRECTION; HENRY ATENCIO, in his              2. Violation of Equal Protection – Sex (14th
official capacity; JEFF ZMUDA, in his             Amendment)
official capacity; HOWARD KEITH                3. Violation of Equal Protection – Diagnosis
YORDY, in his official and individual             (14th Amendment)
capacities; CORIZON, INC.; SCOTT               4. Discrimination in Violation of Americans
ELIASON; MURRAY YOUNG; RICHARD                    with Disabilities Act/Rehabilitation Act
CRAIG; RONA SIEGERT; CATHERINE                 5. Discrimination in Violation of Affordable
WHINNERY; and DOES 1-15;                          Care Act
                                               6. Failure to Protect from Harm (8th
                 Defendants.                      Amendment)
                                               7. Negligence (Idaho State Law)




SECOND AMENDED COMPLAINT
FOR DAMAGES
            Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 2 of 61




                                        INTRODUCTION

       1.       Plaintiff Adree Edmo is currently incarcerated by the Idaho Department of

Corrections (“IDOC”) in Idaho State Correctional Institution in Kuna, Idaho. Ms. Edmo has

been incarcerated since April 2012. Ms. Edmo is a transgender woman—an individual whose

gender identity (female) is different from the male gender assigned to her at birth. 1 Ms. Edmo

has been diagnosed by IDOC with gender dysphoria (previously known as Gender Identity

Disorder), a serious medical condition characterized by strong cross-gender identification, and

strong and persistent discomfort about one’s assigned sex. As a result of gender dysphoria, Ms.

Edmo experiences severe dysphoria and distress resulting from the incongruence between her

male physical features and her female gender identity. She requires medically necessary care to

treat gender dysphoria.

       2.       The most common forms of treatment for gender dysphoria are counseling, the

“real-life” experience of living full-time within the desired gender, hormonal therapy, and sex

affirming surgeries that conform primary or secondary sex characteristics with gender identity.

Because gender dysphoria is not a mental disorder, counseling is aimed at providing coping

mechanisms to deal with the discrimination and bias that transgender people typically experience

from other people or institutions.

       3.       Prior to being incarcerated, Ms. Edmo lived full-time as a woman. Ms. Edmo is

Native American and her Tribe recognizes that some individuals are Two-Spirit, a Native

American concept encompassing cross-gender identifying and gender nonconforming

individuals.

       4.       After she was diagnosed with gender dysphoria by IDOC, Ms. Edmo sought

appropriate medical treatment, including access to feminizing hormones, evaluation for sex

affirming surgery, 2 and the ability to live as a woman while incarcerated. However, Defendants

1
  At birth, infants are classified as male or female based on a visual observation of their external
genitalia. This classification becomes the person’s “sex assigned at birth,” but may not be the
same as the person’s sex/gender identity.
2
  This is also sometimes referred to as “sex reassignment surgery.”

    SECOND AMENDED COMPLAINT                        -1-
    FOR DAMAGES
           Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 3 of 61




have refused to allow Plaintiff to access such medically necessary treatment, and instead have

repeatedly punished Plaintiff for expressing her gender identity, including subjecting her to

solitary confinement.

      5.       Defendants’ denial of necessary medical treatment as well as discipline and

punishment of Ms. Edmo for expressing her gender identity have caused grave and unnecessary

suffering and harm to Ms. Edmo, including two attempted self-castrations.

      6.       Defendants are also electing to house Ms. Edmo in a housing unit known to pose

serious risks to her safety—and where Ms. Edmo was previously sexually assaulted—despite

Ms. Edmo’s requests to be removed from that unit.

      7.       Defendants’ actions violate the Eight Amendment to the U.S. Constitution’s

prohibition on cruel and unusual punishment by denying Ms. Edmo necessary medical treatment

and failing to protect her from harm; the Fourteenth Amendment to the U.S. Constitution’s

guarantee of equal protection by discriminating against her based on sex, sex stereotyping,

and/or gender identity as well as based on the diagnosis of gender dysphoria; the Americans

with Disabilities Act and Section 504 Rehabilitation Act by discriminating against her in

provision of medical treatment and participation in programs and services; the non-

discrimination provision of the Affordable Care Act by discriminating based on sex, sex

stereotyping, and/or gender identity; and Idaho tort law by negligently failing to provide Ms.

Edmo treatment.

      8.       Ms. Edmo seeks injunctive and declaratory relief and damages to remediate

Defendants’ violations of her rights.

                                JURISDICTION AND VENUE

      9.       Plaintiff brings this suit pursuant to 42 U.S.C. § 1983, the Eighth and Fourteenth

Amendments of the United States Constitution, the Americans with Disabilities Act, 42 U.S.C. §

12101 et seq., Section 504 of the Rehabilitation Act of 1973, 29 U.SC. § 794a, and Section 1557

of the Affordable Care Act, 42 U.S.C. § 18116 . This Court has jurisdiction over this action

pursuant to 28 U.S.C. §§ 1331 and 1343 and supplemental jurisdiction over Plaintiff’s related

 SECOND AMENDED COMPLAINT                          -2-
 FOR DAMAGES
          Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 4 of 61




state law negligence claim because it arises out of the same actions and omissions. Plaintiff

seeks declaratory and injunctive relief and damages for Defendants’ violation of Plaintiff’s civil

rights.

        10.    Venue is appropriate in the District of Idaho pursuant to 28 U.S.C. § 1391(b)(2)

because the events giving rise to the claim occurred in this District.

        11.    Plaintiff has exhausted all administrative remedies with respect to the claims

contained herein. A copy of Plaintiff’s “Notice of Claim” is attached as Exhibit A to the

Complaint. Copies of Plaintiff’s IDOC grievances and appeals that are in her possession, as they

relate to these claims, are attached as Exhibit B to the Complaint. Any further IDOC grievances

deemed to contain complaints similar to those Plaintiff has already grieved are returned to

Plaintiff and not allowed any further process.

                                             PARTIES

        12.    Plaintiff ADREE EDMO is 29 years old and a United States citizen and member

of the Shoshone-Bannock Tribe. She is currently housed at Idaho State Correctional Institution

(“ISCI”) in Kuna, Idaho. Plaintiff has been incarcerated in the custody of IDOC since April

2012.

        13.    Defendant IDAHO DEPARTMENT OF CORRECTION (“IDOC”) is the State

agency responsible for incarceration of adult inmates sentenced by the courts. IDOC operates

nine adult correctional facilities in Idaho, including ISCI where Plaintiff is housed.

        14.    Defendant HENRY ATENCIO is the current Director of the Idaho Department of

Correction. 3 As Director, Defendant Atencio is the highest-level official in IDOC and is

responsible for administering and overseeing the operations of IDOC, including the policies,

procedures, and practices followed by IDOC, its contractors, employees, and agents. On

information and belief, Defendant Atencio is also the final reviewer for treatment decisions by


3
 Plaintiff originally named Kevin Kempf, who was then Director of IDOC. Since Plaintiff filed
her suit, Mr. Atencio has been appointed Director and is automatically substituted as party in his
official capacity. Fed. R. Civ. P. 25(d).

    SECOND AMENDED COMPLAINT                        -3-
    FOR DAMAGES
         Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 5 of 61




IDOC’s Management and Treatment Committee. Mr. Atencio is sued in his official capacity.

      15.      Defendant JEFF ZMUDA is the current Deputy Director of the Idaho Department

of Correction. As Deputy Director, Defendant Zmuda is a member of IDOC’s executive

leadership team, and is specifically charged by IDOC policy to oversee implementation of health

care services and treatment in IDOC including the development and implementation of standard

operating procedures to effectuate health care delivery. Mr. Zmuda is sued in his official

capacity.

      16.      Defendant HOWARD KEITH YORDY is and was at times relevant to the actions

and omissions described herein, the Warden of ISCI where Plaintiff was housed. As Warden,

Defendant Yordy is responsible for oversight of operations at ISCI, implementation of IDOC

policies and procedures, staff training, welfare of inmates housed at the ISCI, and the supervisor

of all other individual Defendants employed at ISCI. Defendant Yordy was a member of the

Management and Treatment Committee for Plaintiff. Defendant Yordy also directly participated

in review and denials of Plaintiff’s requests for appropriate treatment for gender dysphoria,

including implementing de facto policies regarding “feminine” appearance. Mr. Yordy is sued in

his official and individual capacities.

      17.      Defendant CORIZON INCORPORATED (“CORIZON”) is a private for-profit

corporation contracted to provide healthcare, including medical and mental health treatment

services, to inmates in the custody of IDOC, including inmates at ISCI where Plaintiff is housed.

As IDOC’s contract medical provider, Corizon is responsible for ensuring that proper medical,

dental, psychiatric and psychological services, and treatment are provided to inmates

incarcerated under IDOC’s jurisdiction.

      18.      Defendant SCOTT ELIASON, M.D., was at all times relevant to the actions and

omissions described herein the Regional Psychiatric Director for Corizon and a psychiatrist

engaged to provide medical services at ISCI. Defendant Eliason is a direct medical provider to

Plaintiff, is a member of the Management and Treatment Committee for Plaintiff, and directly

participated in decisions to deny Plaintiff adequate and necessary medical treatment for gender

 SECOND AMENDED COMPLAINT                          -4-
 FOR DAMAGES
             Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 6 of 61




dysphoria.

      19.        Defendant MURRAY YOUNG was at all times relevant to the actions and

omissions described herein the Regional Medical Director for Corizon. Defendant Young also

directly participated in treatment decisions for Plaintiff.

      20.        Defendant RICHARD CRAIG was the Chief Psychologist at ISCI until

approximately the end of 2016, and engaged to provide medical services to inmates housed

therein. Defendant Craig was a member of the Management and Treatment Committee for

Plaintiff.

      21.        Defendant RONA SIEGERT was at all times relevant to the actions and

omissions described herein the Health Services Director at ISCI and engaged to provide medical

services to inmates housed therein. Defendant Siegert was a member of the Management and

Treatment Committee for Plaintiff.

      22.        Defendant CATHERINE WHINNERY was at all times relevant to the actions and

omissions described herein a medical provider engaged to provide medical services at ISCI.

Defendant Whinnery is a direct medical provider to Plaintiff and directly participated in the

denial of adequate and necessary medical treatment to Plaintiff for gender dysphoria.

      23.        DOES 1-10 (“Custody Does”) are additional custody supervisors and officers who

were at all times relevant to the actions and omissions described herein employed at ISCI, and

responsible for implementation of IDOC policies and procedures, and the welfare of inmates

including Plaintiff. Custody Does supervised and/or participated in the disciplinary actions and

denial of Plaintiff’s requests complained of herein. At the present time, the identities of Custody

Does are unknown and not discoverable to Plaintiff without the relevant documents for her

custody file, to which she does not presently have access. Plaintiff will substitute the true names

of Custody Does when Plaintiff is able to ascertain their identities through discovery.

      24.        Does 10-15 (“Health Care Does”) are additional medical providers and staff who

were at all times relevant to the actions and omissions described herein engaged to provide

medical services at ISCI, and who were responsible for ensuring provision of appropriate

 SECOND AMENDED COMPLAINT                            -5-
 FOR DAMAGES
         Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 7 of 61




medical care to Plaintiff and/or participated in the denial of adequate and necessary medical

treatment to Plaintiff for gender dysphoria. At the present time, the identities of Health Care

Does are unknown and not discoverable to Plaintiff without discovery. Plaintiff will substitute

the true names of Health Care Does when Plaintiff is able to ascertain their identities through

discovery.

       25.        At all times relevant herein, each Defendant was acting in the course and scope of

his or her employment and under color of state law.

                                    FACTUAL ALLEGATIONS
             Gender Dysphoria is Recognized as a Serious Medical Condition Requiring Treatment

       26.        Gender Dysphoria is a diagnosable and treatable condition recognized by the

American Psychiatric Association and included in the Diagnostic and Statistical Manual of

Mental Disorders, Fifth Edition (“DSM-V”), as well as the International Classification of

Diseases-10 (World Health Organization).

       27.        Gender dysphoria is not a mental illness or disorder. Rather, “gender dysphoria”

is a diagnostic term that refers to clinically significant distress associated with an incongruence

or mismatch between a person’s gender identity and assigned sex. When gender dysphoria is

severe, it can result in a person’s inability to function in everyday life. Gender dysphoria is

highly treatable. Indeed, with appropriate treatment, individuals with gender dysphoria can be

fully cured of all symptoms. When not properly treated, however, gender dysphoria is often

associated with dangerous related conditions such as depression, substance abuse, self-

mutilation, suicidal ideations, and suicide. Without treatment, the path for those suffering from

gender dysphoria can be torturous, as evidenced by alarmingly high suicide attempt rates: 40

percent of persons identifying as transgender attempt suicide, nearly 9 times the national average

of 4.6 percent, according to the 2015 National Transgender Discrimination Survey. 4 Plaintiff’s


4
 Available at
http://www.transequality.org/sites/default/files/docs/usts/USTS%20Full%20Report%20-
%20FINAL%201.6.17.pdf

    SECOND AMENDED COMPLAINT                         -6-
    FOR DAMAGES
         Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 8 of 61




history reflects such effects resulting from inadequate treatment: she has repeatedly experienced

suicidal ideation and has engaged in dangerous attempts to self-harm and self-castrate as a

response to her despair over her inability to access necessary treatment for her gender dysphoria.

       28.       The World Professional Association for Transgender Health (“WPATH”) is the

leading international organization focused on transgender health care. WPATH has more than

1,000 members throughout the world consisting of physicians, psychiatrists, psychologists, social

workers, surgeons, and other health professionals who specialize in the diagnosis and treatment

of gender dysphoria. WPATH publishes the Standards of Care for the Health of Transsexual,

Transgender, and Gender Nonconforming People (“Standards of Care”). The Standards of Care

were first developed in 1979. The current version of the Standards of Care, Version 7, 5 was
published in September 2011 following a five-year process in which eighteen gender dysphoria

specialists submitted peer-reviewed papers to help identify the most effective treatments for

gender dysphoria. WPATH’s Standards of Care are the prevailing standards of care used by

mental health providers and medical professionals treating gender dysphoria.

         Just as With Other Medical Conditions, People with Gender Dysphoria Must Be Able to

             Access Treatment Determined to Be Medically Necessary, Including Sex Affirming

                                                  Surgery

       29.       IDOC Policy 401, “Clinical Services and Treatment,” states that it is IDOC’s

policy to provide “proper medical, dental, psychiatric and psychological services, and treatment”

to inmates.

       30.       IDOC Standard Operating Procedure 401.06.03.001, “Access to Care,” states that

the purpose of the procedure is “to ensure that offenders have unimpeded access to healthcare

services to meet their serious medical, dental and mental health needs.” It further explains that

“The IDOC provides healthcare to offenders during incarceration that focuses on prevention and


5
 Available at
https://s3.amazonaws.com/amo_hub_content/Association140/files/Standards%20of%20Care%20
V7%20-%202011%20WPATH%20(2)(1).pdf

    SECOND AMENDED COMPLAINT                        -7-
    FOR DAMAGES
         Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 9 of 61




maintenance of the offender’s health status.”

      31.      The goals of medical treatments for gender dysphoria, as stated in the Standards

of Care, are (1) to alleviate clinically significant distress and impairment of functioning

associated with gender dysphoria, and (2) to maximize overall psychological well-being.

      32.      As recognized by both the DSM-V and the Standards of Care, people with gender

dysphoria who do not receive appropriate medical treatment are at risk of depression, anxiety,

suicide, and genital self-harm, including attempts to perform auto-castration or auto-penectomy

that can lead to serious and life-threatening injuries.

      33.      The Standards of Care set forth treatment options for gender dysphoria including:

changes in gender expression and role (which may involve living part time or full time in another

gender role, consistent with one’s gender identity); hormone therapy to feminize or masculinize

the body; surgery to change primary and/or secondary sex characteristics (e.g. breasts/chest,

external and/or internal genitalia, facial features, body contouring); and psychotherapy

addressing the negative impact of gender dysphoria and stigma on mental health, alleviating

internalized transphobia, enhancing social and peer support, improving body image, or

promoting resilience.

      34.      After a diagnosis of gender dysphoria is made, the Standards of Care require that

a competent medical professional with knowledge and expertise in gender dysphoria evaluate a

patient for appropriate and necessary treatment options. This medical treatment not only

improves a patient’s quality of life, but also limits the development of mental health issues which

often accompany lack of treatment.

      35.      The Standards of Care also make clear that sex affirming surgery is not an

“elective procedure.” Sex affirming surgery is an “essential and medically necessary” treatment

to alleviate gender dysphoria in some cases. Hormone therapy alone for those individuals is not

sufficient.

      36.      In promulgating the Standards of Care, the WPATH specifies that they “apply to

all transsexual, transgender, and gender nonconforming people, irrespective of housing situation,

 SECOND AMENDED COMPLAINT                            -8-
 FOR DAMAGES
         Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 10 of 61




including in institutional environments such as prisons. The Standards of Care state that “[a]ll

elements of assessment and treatment as described in the SOC can be provided to people living

in institutions…If the in-house expertise of health professionals in the direct or indirect employ

of the institution does not exist to assess and/or treat people with gender dysphoria, it is

appropriate to obtain outside consultation from professionals who are knowledgeable about this

specialized area of health care.”

    Defendants’ Failure to Provide Necessary Treatment and Discrimination Against Plaintiff

      37.      Plaintiff was born on October 29, 1987, in Pocatello, Idaho and grew up in Tyhee,

Idaho. Plaintiff is a member of the Shoshone-Bannock Tribe.

      38.      Plaintiff’s Tribe recognizes individuals as Two-Spirit, a Native American concept

encompassing cross-gender identifying and gender nonconforming individuals.

      39.      From a young age, Plaintiff identified with her sisters and other female family

members, and would dress in women’s clothing. As a teenager, she identified as female and was

not comfortable in the male gender that was assigned to her at birth. At around age 18, Plaintiff

began living “part-time” as a woman, including wearing women’s clothing and make-up, and at

around age 20 began living full-time as a woman. Plaintiff identifies as Two-Spirit within her

Tribe.

      40.      Plaintiff began her current term of incarceration in April 2012. Soon thereafter, in

or around July 2012, Plaintiff was diagnosed with gender dysphoria by Dr. Lake, a doctor

treating her on behalf of IDOC.

      41.      IDOC Standard Operating Procedure 410.06.03.501 requires the “Management

and Treatment Committee” to create an individualized management and treatment program for

inmates with gender dysphoria. However, Defendants have repeatedly failed to provide Plaintiff

with individualized care.

      42.      On information and belief, Defendants’ failure to provide Plaintiff with

individualized care as required by IDOC policy reflects Defendants’ custom, practice, and/or de

facto policy of failing to provide necessary medical treatment for persons with gender dysphoria.

 SECOND AMENDED COMPLAINT                            -9-
 FOR DAMAGES
        Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 11 of 61




      43.      After IDOC’s own medical provider diagnosed Plaintiff with gender dysphoria,

Plaintiff submitted numerous Corizon “Health Service Request” forms, and IDOC “Offender

Concerns” forms related to medical needs resulting from gender dysphoria. These included

requests for electrolysis for facial hair removal; medically appropriate doses of feminizing

hormones; evaluation for sex affirming surgery; change of gender marker on her IDOC

identification card; female underwear; and the ability to purchase women’s cosmetics from

commissary that are available to female prisoners.

      44.      From 2012 through 2016, Defendants largely denied and/or ignored Plaintiff’s

requests. For example:

            a. On or around December 3, 2012, Defendant Whinnery denied Plaintiff’s request

               for an increased dosage of estrogen and recorded in Plaintiff’s medical record that

               “policy is to maintain current doses” and informed Plaintiff that IDOC limits

               estrogen dosages to 3 mg, regardless of inmates’ individual needs.

            b. On or around October 16, 2013, Plaintiff requested a medical memo that would

               allow her to possess gender-appropriate undergarments. This request was denied

               without consideration of her individual needs or development of an individualized

               treatment plan. Defendant Whinnery stated IDOC does not allow “female

               panties” for male inmates.

            c. On or around November 16, 2013, Plaintiff requested medication to decrease

               facial hair. Defendant Young saw Plaintiff approximately one-and-a-half months

               later and refused to discuss any changes to medications.

            d. On or around December 16, 2013, during a medical appointment with Defendant

               Young, Plaintiff again requested a medical memo that would allow her to possess

               gender-appropriate undergarments. Defendant Young indicated that she had to

               receive approval from security staff. On or around December 22, 2013, Defendant

               Warden Carlin denied Plaintiff’s request.

            e. On or around February 11, 2014, Plaintiff requested an appointment with a gender

 SECOND AMENDED COMPLAINT                          -10-
 FOR DAMAGES
        Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 12 of 61




               dysphoria specialist and sex affirming surgery. Health service Administrator

               Linda Gercke coordinate with Defendant Young and refused Plaintiff’s request as

               “not medically necessary.”

            f. On or around March 12, 2014, Defendant Yordy refused Plaintiff’s requests to

               live in a manner consistent with her female gender because she is “housed within

               a male prison.”

            g. On or around July 3, 2014, during a medical appointment with Defendant

               Whinnery, Plaintiff requested an evaluation for the medical necessity of sex

               affirming surgery. Defendant Whinnery refused and stated words to the effect

               that “IDOC will not allow me to approve or recommend any medical treatment

               regarding sex reassignment surgery without a court order.”

            h. On or around September 20, 2014, Plaintiff requested to be seen by a qualified

               gender identity evaluator, and her request was not answered.

            i. On or around October 8, 2014, during a medical appointment with Defendant

               Whinnery, Plaintiff again requested approval to purchase women’s underwear.

               Defendant Whinnery refused citing IDOC policy not to issue a medical memo for

               female underwear to inmates with gender dysphoria.

            j. On or around January 8, 2015, during a medical appointment with Defendant

               Whinnery, Plaintiff requested an evaluation for sex affirming surgery. Defendant

               Whinnery refused, saying this would not be provided without a court order.

            k. On or around April 20, 2016, Plaintiff was seen by Defendant Eliason and

               requested sex affirming surgery. Defendant Eliason told Plaintiff words to the

               effect that “It would be a lot easier if you acted like a man, got out, and then you

               could do anything you want.”

      45.      As a result of Defendants’ failure to adequately treat Plaintiff’s gender dysphoria,

Plaintiff experienced severe symptoms related to this condition, resulting in one suicide attempt

and two attempts to self-castrate. In February 2014, Plaintiff attempted suicide as a result of

 SECOND AMENDED COMPLAINT                          -11-
 FOR DAMAGES
        Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 13 of 61




learning that Defendants were denying her treatment for gender dysphoria. On September 29,

2015, Plaintiff attempted to self-castrate by using a razor blade to cut her testicle. On December

31, 2016, Plaintiff used a razor blade to cut her scrotum, pulling out the entire right testicle.

      46.      In response to Plaintiff’s September 29, 2015 castration attempt, she was given

sutures to close the laceration, and then put on suicide watch for approximately 72 hours, and

then placed in the “Behavioral Housing Unit” at the prison without any further medical

treatment.

      47.      In response to Plaintiff’s December 31, 2016 castration attempt, she was

transported to an outside hospital and given surgery to repair her self-castration attempt.

Plaintiff was heavily medicated during her time at the outside hospital and is unaware if anyone

at that outside medical facility spoke with IDOC or Corizon staff about a medical option of

removing rather than repairing her testicle.

      48.      After this castration attempt, a clinician threatened Plaintiff that if she cut herself

again, she would be placed in a maximum security prison.

      49.      From 2012 until December 2016, Defendants refused to evaluate Plaintiff’s

requests for evaluation of the medically appropriate dose of feminizing hormones.

      50.      In or around December 2016, Defendants provided Plaintiff with one-time access

to an outside medical provider who evaluated her dosage of hormones and other medications

related to gender dysphoria. This medical doctor significantly raised Plaintiff’s dose of estradiol

and spironolactone, and additionally prescribed her progesterone. However, since that date,

Plaintiff has not had any follow-ups with this outside provider nor are any scheduled. Also since

that date, despite the substantial changes in medication, Plaintiff’s blood levels have not been

measured nor has there been other necessary monitoring of the effects of the medications, or

evaluation of whether she is now receiving appropriate dosages of the medications.

      51.      Moreover, during Plaintiffs’ December 2016 visit with the outside provider, when

Plaintiff sought to discuss the appropriateness of sex affirming surgery, the outside provider

informed her that he was unable to discuss this with her because it was outside of his contract

 SECOND AMENDED COMPLAINT                            -12-
 FOR DAMAGES
        Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 14 of 61




with IDOC.

      52.      Defendants’ refusal to provide Plaintiff with access to a qualified medical

provider with expertise in gender dysphoria to assess her need for sex affirming surgery reflects

Defendants’ policy, procedure, custom, and/or practice of failing to provide adequate and

necessary medical treatment to persons with gender dysphoria.

      53.      IDOC Standard Operating Procedure 401.06.03.001, “Access to Care,” prohibits

“unreasonable barriers” to inmates’ access to healthcare services, including “[p]unishing

offenders for seeking care for their serious health needs” and directs that “non-health care

services staff (i.e. security staff) must not be allowed to approve or deny requests for healthcare

made by an offender. Non-healthcare services staff must forward requests for healthcare at the

facility for review and action if necessary.”

      54.      Throughout Plaintiff’s incarceration, Defendants have repeatedly disciplined and

punished her for expressing her gender identity in a manner that did not pose any legitimate

threat to the safety and security of the prison and that were related to gender dysphoria. For

example, Defendants issued “Disciplinary Offense Reports” (“DORs”) to Plaintiff for, inter alia:

            a. “Destruction of Property under $25” for converting state-issued men’s underwear

               into a style similar to women’s underwear to provide more support, for which

               Plaintiff was charged to pay restitution;

            b. “Disobedience to Orders” for wearing “eyeliner makeup,” resulting in

               commissary restriction for 15 days;

            c. “Possession of unauthorized property” for having “eyelash makeup with an

               eyelash applicator,” resulting in commissary restriction;

            d. “Disobedience to Orders” for “hair in a bun that was above ear line,” resulting in

               5 days in disciplinary segregation;

            e. “Disobedience to Orders” for “hair in a high pony tail styled in a feminine

               fashion,” which was subsequently dismissed;

            f. “Disobedience to Orders” for a “feminine hairstyle,” resulting in 20 days

 SECOND AMENDED COMPLAINT                            -13-
 FOR DAMAGES
        Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 15 of 61




                commissary restriction and 20 days recreation restriction;

      55.       Makeup items from the IDOC commissary are available to female inmates.

      56.       Defendants have also failed to adequately protect Plaintiff from harm, including

risk of sexual assault.

      57.       In or around August 2016, Plaintiff was sexually assaulted by another inmate on

“Unit 9,” where she was the only transgender prisoner. Plaintiff reported the assault, and then

was placed in solitary confinement for approximately two weeks while IDOC conducted an

investigation. Plaintiff requested to be housed in protective custody, but was told she was not

eligible. Plaintiff also requested not to be housed in Unit 9, which is a particularly unsafe unit

because it does not have emergency call boxes accessible to inmates and has a large gang

population. However, in January 2017, Plaintiff was re-housed on Unit 9, despite the known risk

to her safety, and continues to be housed there presently.

                                      CLAIMS FOR RELIEF
                                  FIRST CLAIM FOR RELIEF

    Failure to Provide Necessary Medical Treatment (8th Amendment; 42 U.S.C. § 1983)

                               Against ALL Defendants Except IDOC

      58.       Plaintiff repeats and re-alleges the allegations in all preceding paragraphs as if

fully set forth herein.

      59.       Plaintiff has been diagnosed with the serious medical condition of gender

dysphoria, which continues to cause Plaintiff serious mental distress and, without necessary

treatment, has resulted in serious physical harm to Plaintiff.

      60.       Defendants are responsible for providing adequate and necessary medical

treatment to Plaintiff, including treatment for persons diagnosed with gender dysphoria.

      61.       Defendants have failed to follow even IDOC’s own policies relating to Plaintiff’s

treatment. For example, Defendants failed to convene and/or conduct the necessary IDOC

Management and Treatment Committee meetings to meaningfully evaluate Plaintiff’s treatment

for gender dysphoria.

 SECOND AMENDED COMPLAINT                           -14-
 FOR DAMAGES
        Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 16 of 61




      62.      Defendants have failed to provide adequate and necessary treatment to Plaintiff

that is consistent with prevailing medical standards of care for gender dysphoria.

      63.      Defendants’ acts and/or omissions with respect to Plaintiff’s treatment reflect

Defendants’ policy, custom, practice and/or procedure of failing to provide adequate and

necessary medical treatment to inmates with gender dysphoria.

      64.      Each Defendant has been and remains deliberately indifferent to Plaintiff’s

medical need to be adequately treated for gender dysphoria, including but not limited to

evaluation for sex affirming surgery by qualified medical personnel with expertise in the

diagnosis and treatment of gender dysphoria and provision of such surgery, if determined

appropriate, as well as other medical treatments and accommodations that would alleviate

Plaintiff’s serious medical symptoms. Each Defendant has known of Plaintiff’s serious medical

need for treatment for gender dysphoria and failed to take reasonable measures to address

Plaintiff’s continued pain and suffering resulting from her inadequately treated gender dysphoria.

      65.      Defendants’ continued denial of necessary medical treatment for gender

dysphoria is causing irreparable harm and unnecessary suffering to Plaintiff, including severe

anxiety and distress resulting in emotional, psychological, and physical harm.

      66.      Defendants’ failure to provide necessary medical treatment to Plaintiff violates

the Eighth Amendment to the U.S. Constitution.

      67.      As a direct and legal result of Defendants’ actions and omissions, Plaintiff has

suffered and continues to suffer damages including, without limitation, pain and suffering;

emotional, psychological, and physical distress; violation of dignity; and other pecuniary losses

not yet ascertained.

      68.      Individual Defendants and Corizon, by engaging in the aforementioned acts or

omissions and/or in ratifying such acts or omissions, engaged in willful, malicious, intentional,

and/or oppressive conduct, and/or acted with willful and conscious disregard of the rights,

welfare, and safety of Plaintiff, thereby justifying the award of punitive and exemplary damages

in an amount to be determined at trial.

 SECOND AMENDED COMPLAINT                          -15-
 FOR DAMAGES
        Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 17 of 61




///

                                 SECOND CLAIM FOR RELIEF

 Violation of Equal Protection – Discrimination Based on Sex (14th Amendment; 42 U.S.C.

                                               § 1983)

                               Against ALL Defendants Except IDOC

      69.       Plaintiff repeats and re-alleges the allegations in all preceding paragraphs as if

fully set forth herein.

      70.       Under the Equal Protection Clause of the Fourteenth Amendment, discrimination

based on sex is presumptively unconstitutional and subject to heightened scrutiny.

      71.       Defendants have discriminated against Plaintiff based on her sex by failing to

provide adequate and necessary medical treatment for gender dysphoria and by disciplining her

based on Defendants’ sex-based stereotyping about the ways in which Plaintiff should appear,

act, and express herself based on her sex assigned at birth.

      72.       In particular, Defendants have withheld adequate medical care from Plaintiff

because she is transgender, because she is attempting to transition genders, and/or because of

their sex-based belief that people who are assigned the male sex at birth should not receive

medically necessary care that feminizes their bodies.

      73.       Defendants denied various requests and/or permitted the denial of requests by

Plaintiff for commissary products allowed to similarly situated female inmates, including but not

limited to women’s underwear and cosmetics. Defendants also disciplined Plaintiff for wearing

her hair in hairstyles deemed to be “feminine” that are allowed for similarly situated female

inmates.

      74.       Defendants also disciplined and/or permitted the discipline of Plaintiff for sex-

based behaviors because she is transgender, because she is attempting to transition genders,

and/or because of the sex-based belief that people who are assigned the male sex at birth should

display only stereotypically male characteristics, behaviors, or dress. Defendants thus treated

Plaintiff differently based on her sex and her perceived non-conformity with sex stereotypes,

 SECOND AMENDED COMPLAINT                           -16-
 FOR DAMAGES
        Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 18 of 61




including the expectation that a person’s gender must conform to the sex assigned at birth.

      75.      Defendants’ treatment of Plaintiff is based on her sex assigned at birth and sex-

based stereotypes that Plaintiff should express herself in a manner that does not include wearing

of cosmetics, “feminine” hairstyles, women’s underwear, and other “feminine” behaviors and/or

expressions.

      76.      Defendants discriminated against Plaintiff because of sex, sex stereotyping,

and/or gender identity pursuant to official policies, procedures, customs and/or practices.

      77.      Defendants’ discriminatory treatment of Plaintiff because of sex, sex stereotyping,

and/or gender identity deprives Plaintiff of her right to equal protection of the laws guaranteed

by the Fourteenth Amendment to the United States Constitution.

      78.      Defendants’ discrimination against Plaintiff because of sex, sex stereotyping,

and/or gender identity is not substantially related to any important government interest, nor is it

even rationally related to any legitimate government interest. Defendants’ discrimination against

Plaintiff because of sex, sex stereotyping, and/or gender identity is also not reasonably related to

legitimate penological interests.

      79.      As a direct and legal result of Defendants’ actions and/or omissions, Plaintiff has

suffered and continues to suffer damages including, without limitation, pain and suffering;

emotional, psychological, and physical distress; violation of dignity; and other pecuniary losses

not yet ascertained.

      80.      Individual Defendants and Corizon, by engaging in the aforementioned acts

and/or omissions and/or in ratifying such acts or omissions, engaged in willful, malicious,

intentional, and/or oppressive conduct, and/or acted with willful and conscious disregard of the

rights, welfare, and safety of Plaintiff, thereby justifying the award of punitive and exemplary

damages in an amount to be determined at trial.

///

///

///

 SECOND AMENDED COMPLAINT                          -17-
 FOR DAMAGES
        Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 19 of 61




                                  THIRD CLAIM FOR RELIEF

  Violation of Equal Protection – Discrimination Based on Diagnosis of Gender Dysphoria

                               (14th Amendment; 42 U.S.C. § 1983)

                               Against ALL Defendants Except IDOC

      81.       Plaintiff repeats and re-alleges the allegations in all preceding paragraphs as if

fully set forth herein.

      82.       IDOC policies require that prisoners with serious medical conditions be provided

with appropriate and necessary medical care. IDOC Policy 401, “Clinical Services and

Treatment,” states that it is IDOC’s policy to provide “proper medical, dental, psychiatric and

psychological services, and treatment” to inmates. IDOC Standard Operating Procedure

401.06.03.001, “Access to Care,” provides that “in a timely manner, an offender patient can be

seen by a clinician, be given a professional clinical judgment, and receive care that is ordered,”

and that healthcare for inmates focuses on “prevention and maintenance of the offender’s health

status.” The policy requires that “[u]pon identification of any medical or mental health need

requiring evaluation and/or intervention by a physician . . . or mental health professional,

arrangements must be made to provide timely examination, assessment, ,and/or treatment by

scheduling an appointment with the appropriate practitioner” IDOC Directive 401.06.03.035,

“Mental Health Care/Evaluation and Assessment,” provides that treatment needs be addressed as

soon as possible, and inmates who require acute mental health services beyond those available at

the prison will be transferred to an appropriate facility which may include a facility in the

community.

      83.       Defendants diagnose and treat similarly situated IDOC inmates with mental health

diagnoses and medical conditions other than gender dysphoria according to the IDOC policies,

including those described above, regardless of whether such diagnosis and/or treatments are not

common practices, or are unpopular treatments.

      84.       Defendants have failed, and continue to fail, to provide Plaintiff treatment

according to IDOC policies because of her diagnosis of gender dysphoria.

 SECOND AMENDED COMPLAINT                           -18-
 FOR DAMAGES
        Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 20 of 61




      85.       By official policy, procedure, custom and/or practice, Defendants discriminate

against transgender inmates diagnosed with gender dysphoria, including Plaintiff, by providing

them with inferior medical care as compared to similarly situated inmates with medical and

mental conditions and/or diagnoses other than gender dysphoria.

      86.       Defendants’ discriminatory treatment of Plaintiff because of her diagnosis of

gender dysphoria deprives Plaintiff of her right to equal protection of the laws guaranteed by the

Fourteenth Amendment to the United States Constitution.

      87.       Defendants’ discrimination against Plaintiff based on her diagnosis of gender

dysphoria is not substantially related to any important government interest, nor is it even

rationally related to any legitimate government interest. Defendants’ discrimination against

Plaintiff based on her diagnosis of gender dysphoria is also not reasonably related to legitimate

penological interests.

      88.       As a direct and legal result of Defendants’ actions and omissions, Plaintiff has

suffered and continues to suffer damages including, without limitation, pain and suffering;

emotional, psychological, and physical distress; violation of dignity; and other pecuniary losses

not yet ascertained.

      89.       Individual Defendants and Corizon, by engaging in the aforementioned acts or

omissions and/or in ratifying such acts or omissions, engaged in willful, malicious, intentional,

and/or oppressive conduct, and/or acted with willful and conscious disregard of the rights,

welfare, and safety of Plaintiff, thereby justifying the award of punitive and exemplary damages

in an amount to be determined at trial.

                                 FOURTH CLAIM FOR RELIEF

  Discrimination on Basis of Disability (Americans with Disabilities Act, 42 U.S.C. § 12101

              et seq., and Section 504 of the Rehabilitation Act, 29 U.S.C. § 794a)

                               Against Defendants IDOC and Corizon

      90.       Plaintiff repeats and re-alleges the allegations in all preceding paragraphs as if

fully set forth herein.

 SECOND AMENDED COMPLAINT                           -19-
 FOR DAMAGES
        Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 21 of 61




      91.       Based on her diagnosis of gender dysphoria, Plaintiff suffers from a “disability”

within the meaning and scope of 42 U.S.C. § 1202, which has been recognized and documented

by Defendants. Accordingly, Plaintiff is a member of the class of persons protected by the ADA

and Section 504 of the Rehabilitation Act, which make it unlawful for a public entity and entities

receiving federal funds to discriminate against an individual with a disability, or to deny the

benefits of the services, programs, or activities of a public entity or entity receiving federal funds

to a person with a disability.

      92.       Defendants discriminated against Plaintiff because of her disability and denied her

the benefits of public services, programs and activities as a result of her disability by, inter alia,

failing to provide adequate and necessary medical treatment; failing to provide proper and

reasonable training to custody and health staff in responding to persons with gender dysphoria;

and by disciplining Plaintiff for actions or behavior related to gender dysphoria and imposing

punishments depriving Plaintiff of programs and activities because of such actions or behavior in

a manner detrimental to her health.

      93.       Defendants’ acts and omissions violated the ADA and Section 504, which

prohibit discrimination on the basis of physical and mental disability, and protect persons such as

Plaintiff from the type of injuries and damages set forth herein.

      94.       Defendant IDOC is not entitled to immunity from suit under the Eleventh

Amendment for this cause of action.

      95.       As a direct and legal result of Defendants’ actions and omissions, Plaintiff has

suffered and continues to suffer damages including, without limitation, pain and suffering;

emotional, psychological, and physical distress; and other pecuniary losses not yet ascertained.

                                    FIFTH CLAIM FOR RELIEF

                          Violation of Affordable Care Act (42 U.S.C. § 18116)

             Against Defendants Atencio, Zmuda, and Yordy in their official capacities

      96.       Plaintiff repeats and re-alleges the allegations in all preceding paragraphs as if

fully set forth herein.

 SECOND AMENDED COMPLAINT                            -20-
 FOR DAMAGES
        Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 22 of 61




      97.       Section 1557 of the Affordable Care Act, 42 U.S.C. § 18116, prohibits covered

entities from discriminating on the basis of sex for the purpose of providing health care services.

      98.       Covered entities include “any health program or activity, any part of which is

receiving Federal financial assistance.” IDOC is a covered entity subject to the ACA’s

nondiscrimination requirement.

      99.       As set forth above, Defendants have and continue to discriminate against Plaintiff

on the basis of sex when they deny her adequate and necessary medical treatment on the basis

that she is transgender, has been diagnosed with gender dysphoria, and is attempting to transition

genders.

     100.       As set forth above, Defendants have and continue to discriminate against Plaintiff

on the basis of sex when they deny her adequate and necessary medical treatment on the basis of

sex stereotyping and/or a belief that people who are assigned the male sex at birth should display

only stereotypically male characteristics, behaviors, and dress.

     101.       As a direct and legal result of Defendants’ actions and omissions, Plaintiff has

suffered and continues to suffer damages including, without limitation, pain and suffering;

emotional, psychological, and physical distress; violation of dignity; and other pecuniary losses

not yet ascertained.
                                  SIXTH CLAIM FOR RELIEF

              Failure to Protect from Harm (8th Amendment; 42 U.S.C. § 1983)

                               Against ALL Defendants Except IDOC

     102.       Plaintiff repeats and re-alleges the allegations in all preceding paragraphs as if

fully set forth herein.

     103.       Defendants failed to protect Plaintiff from harm by deliberately withholding

necessary medical treatment, resulting in pain and suffering to Plaintiff.

     104.       Defendants failed to protect Plaintiff from harm by unreasonably housing Plaintiff

in a housing unit known to present safety risks to Plaintiff. Defendants were on notice that

Plaintiff was previously assaulted on this unit and this unit does not have emergency call boxes

 SECOND AMENDED COMPLAINT                           -21-
 FOR DAMAGES
        Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 23 of 61




accessible to prisoners, making it less safe than other housing units at the prison. Despite this

knowledge, Defendants continue to house Plaintiff in this unit.

     105.       Defendants also failed to follow the requirements of the Prison Rape Elimination

Act with respect to Plaintiff.

     106.       Defendants could have taken action to reduce the risk of harm to Plaintiff, but

refused or failed to do so.

     107.       Each Defendant failed to protect Plaintiff in violation of her rights under the

Eighth Amendment to the United States Constitution.

     108.       As a direct and legal result of Defendants’ actions and omissions, Plaintiff has

suffered and continues to suffer damages including, without limitation, pain and suffering;

emotional, psychological, and physical distress; and other pecuniary losses not yet ascertained.

     109.       Individual Defendants and Corizon, by engaging in the aforementioned acts or

omissions and/or in ratifying such acts or omissions, engaged in willful, malicious, intentional,

and/or oppressive conduct, and/or acted with willful and conscious disregard of the rights,

welfare, and safety of Plaintiff, thereby justifying the award of punitive and exemplary damages

in an amount to be determined at trial.
                                 SEVENTH CLAIM FOR RELIEF

                                   Negligence (Idaho State Law)

   Against Defendants Atencio and Zmuda, in their official capacities; Defendant Yordy in his

        official and individual capacity; Defendant Corizon; and Defendants Custody Does

     110.       Plaintiff repeats and re-alleges the allegations in all preceding paragraphs as if

fully set forth herein.

     111.       Defendants failed to comply with professional standards in the treatment, care,

and supervision of Plaintiff during her incarceration at ISCI. Defendants’ failures include but are

not limited to: failing to provide timely and necessary medical treatment; disciplining and

punishing Plaintiff for behaviors and actions reflecting her medical diagnosis and seeking

medical treatment; and failing to house Plaintiff safely.

 SECOND AMENDED COMPLAINT                           -22-
 FOR DAMAGES
          Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 24 of 61




     112.        Defendants also failed to appropriately supervise, review, and ensure the

provision of adequate care and treatment to Plaintiff by custody and medical staff, and failed to

enact appropriate standards and procedures that would have prevented the harm that she has

experienced.

     113.        Together, Defendants acted negligently and improperly, breached their respective

duties, and as a direct and proximate result, Plaintiff suffered injuries and damages as alleged

herein.

     114.        The negligent conduct of Defendants was committed within the course and scope

of their employment.

     115.        The aforementioned acts of individual Defendants and Corizon were conducted

with conscious disregard for the safety of Plaintiff and others, and were therefore malicious,

wanton, and oppressive. As a result, Defendants’ actions justify an award of exemplary and

punitive damages to punish the wrongful conduct alleged herein and to deter such conduct in the

future.
                                      PRAYER FOR RELIEF
          WHEREFORE, Plaintiff requests entry of judgment in her favor and against Defendants

as follows:

          a.     For injunctive and declaratory relief, including but not limited to enjoining

                 Defendants to provide Plaintiff with adequate and necessary medical care;

                 enjoining Defendants to provide Plaintiff equal access to clothing, cosmetic, and

                 hygiene items available to inmates housed in female institutions; enjoining

                 Defendants to house Plaintiff at an institution consistent with her gender identity;

                 declaring unconstitutional and violative of federal law Defendants’ practices in

                 denying Plaintiff and other similarly situated inmates with adequate and necessary

                 medical treatment;

          b.     For compensatory, general and special damages, in an amount to be determined at

                 trial;

 SECOND AMENDED COMPLAINT                            -23-
 FOR DAMAGES
       Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 25 of 61




      c.     For punitive damages against individual Defendants and Corizon in an amount to

             be proven at trial;

      d.     For reasonable costs of this suit and attorneys' fees and expenses; and

      d.     For such further relief as the Court may deem just, proper, and appropriate



                                    DEMAND FOR JURY

      Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands trial by jury.



Dated: September 1, 2017             Respectfully Submitted,

                                            NATIONAL CENTER FOR LESBIAN RIGHTS

                                            FERGUSON DURHAM

                                            HADSELL STORMER & RENICK LLP


                                            By:    /s/ - Lori E. Rifkin
                                                   Lori E. Rifkin
                                            Attorneys for Plaintiff




 SECOND AMENDED COMPLAINT                         -24-
 FOR DAMAGES
Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 26 of 61




                                       Second Amended Complaint

                                                   Exhibit A
       Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 27 of 61


                Case 1:17-cv-00151-REB Document 4 Filed 04/06/17 Page 2 of 13



                                                      NOTICE OF CLAIM


 In compliance with Title 6, Chapter 9 of the Idaho Code*, the undersigned hereby presents a
 claim arising out of an accident or occurrence which happened as follows against the following
 governmental entity: (CHOOSE ONE)

 f'\11
 ~
           State of Idaho J dtJi 0 Sf
           PO Box 83720       Co[.L(let OY)
                                            0
                                               L,--,
                                                    tiriQ - F               D         County I Clerk

           Boise, ID 83720-0080 [ Pt.t m~0r>+- 1 v                                    -   - - - --                 -----
           (208) 332-28 14      ]_. c 5ec+-urn       )
                                         f;>0-80 1
 Place or Location: J'Q.a_bo             S'.h:rt t C()DJR o:b om\ \n.~-h-b d\.oo                           { 1\Sl I    1
                                                                                                                      1)    LA n d- \5
 Date and Time of Occurrence:                  [X>g ;())OJDf X' ~\) ?:O \Lo <lt 0-bo1J...,-t lZ-30 \r) rurs .
 Cause of Damages: (Describe the details and circumstances of the accident or occurrence)
                      or-         \\ .- ,                                                                       . : -

   ~ lf\U~~s,                  L(-1n VYLL~~r
 WitnesseS: (Name, Address and Phone N




 Amount of Claim: $ Q!~fl_{.
                             -ro ~oltllv murv.d
                                           (Attach all bills or substantiating information as to the
 amount of the claim)

Personal Injury:
treatment, etc.) --""'---4-'=-=-4->-"'--'-''....J......oL-_l"'-'...~1,-lLI-"-'4-~4.:...!'-'--~~=--'-"~='-.!......!<:....t....x.;'.4-4-'~l<.L'-''lre5
           ·c
~~~~~~~~~~~~~~~



 Property Damage: (Describe the property damage)                            --tf\-t-t-/~tt------------




            DATED this \          a-rf'1
            Name of Claimant:
            Street Address :
            City and State:
 *Claims must be filed within 180 days of the date the claim arose or should have been reasonably discovered.
 NOTICE OF CLAIM - 1
 Revised: 3/24/l 6
Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 28 of 61




                                       Second Amended Complaint

                                                   Exhibit B
      Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 29 of 61


               Case 1:17-cv-00151-REB Document 4 Filed 04/06/17 Page 4 of 13
  IDAHO
DEPARTMENT OF
 CORRECTION
                                            Idaho D epartment of Correction
                                                   Grievance Form


 Offender Name:              EDMO, MASON DEAN                                           Location:   ISCI

 Offender Number:            94691                                                      Number:     II 160000599

                                                                                        Category:   MED ICAL/HEALTHCARE

 Offender Grievance Infom1ation
 Date Received:                  0610 1/20 16
 The problem is:

     I am being denied access to care by !DOC officials, specifically, ISC I warden Yordy, as he does not allow my
     medical/mental health providers to issue me a med ical memo for panties for my psychological support of treating my GID.
     He allows me to have bras but denies panties; both are women's undergarments, this makes no sense at all, both are needed
     for treating my GID .


 I have tried to solve this problem informally by:

     submitting HSR # 8459 I I on 05/21 116, concern forms: Dr. Eliason on 05/20/ J 6, !SCI warden Yordy on 06-24-15 (A ll
     Attached)


 1 suggest the fo llowing so lution for the probl em:

     Be allowed to purchase, possess and wear fema le panties for the psychological improvement and as a medically necessary
     treatment for my GID as according to the World Professional Associations ofTransgender Health ("WPATH").




I Level 1 - Initial Response
 Date Forwarded :                 06/0112016                       Date Returned:                            06/09/2016

 Date Due Back:                   0611512016                       Level I Responder:                        BENTON, AMANDA
 The response from the staff member or person in charge of the area/operation being grieved:

     Bra memos are issued on an " as needed" basis to support development of breast tissue. Panties are not medically indicated
     or necessary at this time.


I Level 2 - Reviewing Authority Response
 Date Forwarded:                  06/09/2016                       Grievance Disposition:                    DENIED

 Date Due Back:                   06/23/2016                       Level 2 Responder:                        HOFER, AARON

 Date Ren1rned:                   06110/2016                       Response sent to offender:                06/13/2016
 Your grievencc has been reviewed and 1 find:

     I am sorry for any inconvenience thi s has caused. Medical does not deal with panties. Please speak with Dr. Eliason for any
     and all information pertaining to G. l. D. Thank you




Date: 07/06/2016 15:46                          Crcalcd By: kawillso                                                Page   I   of   2

CIS/Facilities/Main/Misc/Grievance Detail
       Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 30 of 61


                Case 1:17-cv-00151-REB Document 4 Filed 04/06/17 Page 5 of 13
11 160000599           EDMO. MASON DEAN                                  9469 1


 Offender Appeal
 Offender Comments:

     I've already talked to Dr. Eliason on (04/20/16) about the pantie issues and he has told me that !SCI Administrators/ ISCI
     Warden Yordy wi ll not allow Dr. Eliason to issue me a medical memo so that I may get panties from laundry or purchase
     o n my own. This medical memo is necessary because a llowing me to have panties support my mental hea lth and help
     alleviate some of my gender dyshoria. I talked to a provider on (06114/ 16) about this issue as well and he said he would
     issue a medical memo so that I can request panties from laundry (or SBWCC Laundry) or I be allowed to purchase my own.
     If I am denied it can be deliberate indifference to my serious medical need of appropriate undergannents for treating my
     gender dyshporia.




 Level 3 - Appellate Authority Response
 Date Appealed:                     06/22/2016                      Grievance Disposition:            D EN IED

 Date Forwarded:                    0 6/23/2016                     Level 3 Responder:                SIEGERT, RONA

 Date Due Back:                     07/09/2016                      Response sent to offender:        07/06/2016

 Date Returned:                     07/06/2016
 Your appeal has been reviewed and I find:

     Inmate Edmo:

     Medical providers have determined that "panties" are not medically necessary. Please address your gender dysphoria issues
     with your assigned clinician.




Dale: 07/06/2016 15:46                            Created By: kawillso                                        Page   2   of   2

CIS/ Facilities/Main/ Misc/Grievance Detail
       Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 31 of 61


                Case 1:17-cv-00151-REB Document 4 Filed 04/06/17 Page 6 of 13



                                               Idaho Department of Correction
                                                      Grievance Fonn


 Offender Name:                EDMO, MASON DEAN                                              Location:   !SCI

 Offender Number:              9469 1                                                        Number:     [[ 160000391

                                                                                             Catego1y:   MEDICAL/HEA LTHCAR E

I Offender Grievance Information
 Date Received:                     04/04/2016
 The problem is:

     I am not being provided timely adequate medical/mental health care, specifically a medical/mental heal th eva luation for the
     medical necessity pre-requisite of sex reassignment surge1y by a qual ified gender identity disorder evaluator pursuant lo
     IDOC SOP 401.06.03.50 1 and NCCHC MH-A-0 1 Access to care. and P.-G-02 special needs.



 l have tried to solve this problem informally by:

     Sending concern forms to clinician Houser on 3/03/16, clinician Irvin on 2/22/16 and Dr. Scott Eliason on 3/ 16/1 6, and
     3/25/16. (all attached)


 I s uggest the fo llowing so lution for the problem:

     I wa nt to be schedu led immed iately by a qual ified gender identity disorder evaluator for a medical/mental health evaluation
     for sex reassignment surge1y!


I Level l - Initial Response
 Date Forwarded:                    04/07/20 16                         Date Returned:                            04/08/20 16

 Date Due Back:                     04/21 /20 16                        Level I Responder:                         BREWER, GEN
 The response from the staff member or person in charge of the area/operation bei ng grieved:

     Please submit a concern fom1 to Dr. Eliason for thi s request.



I Level 2 - Reviewing Authority Response
 Date Fo1warded:                    04/08/20 16                         Grievance Disposition:                     MODI FIED

 Date Due Back:                     04/22/20 16                         Level 2 Responder:                         HOFER, AARON

  Date Returned:                    04/ 13/20 l 6                       Response sent to offender:                 04/ 18/20 16
 Your grievence has been reviewed and I fi nd:

     Please address any and all GID questions/concerns to Dr. Eliason. Dr. Eliason is the expert and has the decision making
     abi lity in th is area. Thank you.




Date: 05/19120 16 09:23                             Crealed By: j whi11in                                                  Page   I   of

C IS/ Facilities/Main!M isc/Gricvancc Dclail
       Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 32 of 61


                Case 1:17-cv-00151-REB Document 4 Filed 04/06/17 Page 7 of 13
II 160000391          EDMO. MASON DEAN                                9469 1


 Offender Appeal
 Offender Comments:

     Dr. Eliason is not an ex pert in GID, docs not have any substantial treatment experience in treating persons w/ GID. Dr.
     Eliason is restricied, restrained, land I or denied from uti lizing the standard of care typica lly used in treating GID/ GD;
     wpath, Dr. Eliason furlher delays and I or interferes with adequate medical care of my GID by stating he is a expert and I or
     specialist. I still am being denied Iimely and adequate medical treatment fo r my GID by a medical I mental health provider
     qualified to exercise judgment about my particular med ical I mental health condition of G ID.



 Level 3 - Appellate Authority Response
 Date Appealed:                   04/25/2016                      Grievance Disposition:                       MODIFIED

  Date Forwarded:                 04/29/2016                      Level 3 Responder:                           SIEGERT, RONA

  Date Due Back:                  05/17/2016                      Response sent to offender:                   05/ 19/2016

  Date Returned:                  05/17/2016
 Your appeal has been reviewed and I find:

     Offender Edmo:

     Dr. Eliason is a board certified phys ician with a specialty in psyehi at1y. If Dr. Eli ason feels that it is necessa1y for you to be
     evaluated by a "qualified gender identity disorder evaluator" he will provide that service to you. If you have furthe r
     questions or concerns please follow up with Dr. Eliason.

     Rona Sieger! RN , CCHP-RN
     Idaho Department of Correction




Date: 05/19/2016 09:23                         Created By: jwhillin                                                     Page      of
CIS/Facilities/ Main/Misc/Grievance Detail
       Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 33 of 61


                Case 1:17-cv-00151-REB Document 4 Filed 04/06/17 Page 8 of 13



                                                Idaho Department of Correction
                                                       Grievance Form


 Offender Name:                 EDMO, MASON DEAN                                            Location:   lSCl

 Offender Number:               94691                                                       Number:     ll l 5000 l 348

                                                                                            Catego1y:   MEDICAL/HEALTHCARE

 Offender Grievance Information
 Date Received:                      l 2/16/2015
 The problem is:

     l submilled HSR #'s 784687 & 784637 on l 1/22/ 15, concern form to !DOC I !SCI HSA on l 2/0611 5 asking about HS R's,
     no response on either. l am being denied an endocrinologi st & medical treatment wpath standards. This is creating a
     substantial risk of future harm ofautocastrating myself. l shouldn't have to wait for 30, 60, 90 days until nex t appt.



 l have tried to solve this problem informally by:

     Submitting HS R's #'s 784687, 784637 on l l/22/15 & concern form l 2/06/015 to !SCI HSA, both no response. (attached)



 l suggest the following solution for the problem:

     l request an appt. with a licensed endochnologist and proper medical care treatment. According towpath standards of care
     fo r GID individuals as myself.


 Level 1 - Initial Response
 Date Forwarded:                      l 2/18/2015                      Date Returned:                               1213012015

 Date Dur Back:                      0110l/2016                        Level l Responder:                           WINGE RT. WILLIAM
 The response from the staff member or person in charge of the area/operation being grieved:

     HSR received l l-22- l 5. Edmo scheduled 12-7- 15 and failed to show to appointment. Rescheduled l 2-23-15. The Nurse
     Practitioner ordered that he be seen by an MD to discuss plan of care. That appointment is slated for his next scheduled
     appointment time.


 Level 2 - Reviewing Authority Response
  Date Forwarded:                     12/30/20 15                      Grievance Disposition:                       MODIFI ED

  Date Due Back:                     01 / 13/2016                      Level 2 Responder:                           HOFER, AARON

  Date Returned:                      12/31/2015                       Response sent to offender:                   12/3 l/20 l 5
  Your grievence has been reviewed and I find :

      l am so1Ty fo r any inconvenience this has caused you. You wi ll be scheduled with an MD to discuss plan of action and
      HS R's.




Date: 01/11 /20 16 15:38                            Created By: jwhi1tin                                                    Page    I of

C IS/Facil ities/ Main/M isc/Grievance Detail
        Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 34 of 61


                 Case 1:17-cv-00151-REB Document 4 Filed 04/06/17 Page 9 of 13

11150001 348           EDMO. MASOt\ DEAN                                  9469 1


 Offender Appeal
 Offender Comments:

     I believe that being in the chronic care health program of lDOC I should have seen by a MD physician. This is an ongoing
     struggle with Corizon, and !DOC to recieve an adequate medical plan of action for my G.D. Ive not seen a medical
     physician the entire year of201 5 and believe I should be afforded the opportun ity to explain my medical concerns to such.



 Level 3 - Appellate Authority Response
 Date Appealed:                     01/11 /2016                      Grievat .rn Dispns ition:                DENIED

  Date Forwarded:                   01111 /2016                       Leve l 3 Responder:                     SIEGE RT, RONA

  Date Due Back:                    01/27/2016                        Response sen t to offender:             0 1/1 1/20 16

  Date Returned:                    01/11 /2016
  Your appeal has been reviewed and I find:

     Offender Edmo:

     In your original grievance you are asking to be seen by an "endocrinologist", however, in your appeal you state that you
     feel that you should be seen in the chroni c disease clinic by an MD. Per policy you cannot change or add issues at the
     appeal level. Therefore this appeal is denied.

     Rona Siegert RN, CCHP-RN
     IDOC Health Services Director




                                                                                                    ,M.   !



                                                                                                                  J   "'\
                                                                                                              i       _J




Dale: 01111/20 16 15:38                           Crcalcd By: j whi nin                                                     Page   2   of

C IS/ Facili1ies/Main/ Misc/Grievance Delail
       Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 35 of 61


               Case 1:17-cv-00151-REB Document 4 Filed 04/06/17 Page 10 of 13



                                             Idaho Department of Con-ection
                                                    Grievance Form


 Offender Name:               EDMO, MASON DEAN                                             Location:   ISCI

 Offender Number:             9469 1                                                       Number:     II 150001187

                                                                                           Catego1y:   MED ICAL/HEALTH CA RE
 Offender Grievance Information
 Date Received:                    11/04/2015
 The problem is:

     I am being denied adequate I appropriate medical care for my serious condition of GID. N. P.-C Paulson refuses to follow
     the WPATH standard of care in treating my GID; specifically of ordering laser hair removal electrolysis, or hair remover
     for my fac ial hair, or any fu rther treatment on I 0/20/1 S.


 I have tried to solve this problem info1mally by:

     Sending concern fo1m on I Oil Sil S and submitting HSR # 784404 on I 0125/ 1S. (Both attached)



 I suggest the followi ng solution for the problem:

     I should be treated according to WP ATH standards of care fo r my serious condition of GID.



 Level 1 - Initial Response
 Date Forwarded:                   11 /04/2015                       Date Returned:                             11/05/201 s

 Date Due Back:                    11 /18/20 IS                      Leve l I Responder:                        WINGERT, WILLI AM
 The response from the staff member or person in charge of the area/operation being grieved:

     Facial hai r removal for Gender Dyspho ria is not an !DOC po licy. nor is it medically necessary.



I Level 2 - Reviewing Authority Response
 Date Forwarded:                   11 /05/20 15                      Grievance Disposition:                     DEN IED

 Date Due Back:                    11 119/201 5                      Leve l 2 Responder:                        VA LL EY, RYAN

 Date Returned:                    11/06/20 15                       Response sent to offender:                  11106/201 s
 Your grievence has been reviewed and I fi nd:

     Ed mo,
     Hair removal is not part of our pol icy, nor is it medically necessary.




Date: 11/1 6/20 15 13:28                          Created By: jwhillin                                                  Page   I   of

C IS/Facilities/Main/Misc/Gricvance Detail
        Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 36 of 61


                Case 1:17-cv-00151-REB Document 4 Filed 04/06/17 Page 11 of 13
II 1500011 87          EDMO. MASON DE,                                 9-169 1


 Offender Appeal
 Offender Comments:

     WPATH "SOC" PAS 17 1-72 explain the need for electrolysis for support in changes of gender expression in conjunction
     with hormone therapy. WPATH is the standard of care for treating GID. Corizon nor !DOC have any providers competent,
     or experienced in treating GID, including me. A competent experienced provider would note this facial hair removal
     medically necessary to alleviate my gender dysphoria, and help to prevent another attempt at autocastration, as I did on
     0912911 5. Please refer me to a GlD specialist to be evaluated by appropriate medical care of my GID. Denial based on
     policy or cursory health service evaluations is deliberate and indifference to my serious GID medical condition. Denial
     highers my depression and ideation of autocastration.



 Level 3 - Appellate Authority Response
  Date Appealed:                  11/13/20 15                      Grievance Disposition:              DEN IED

  Date Forwarded:                 11/13/20 15                      Level 3 Responder:                  SIEGERT, RONA

  Date Due Back:                  11/29/2015                       Response sent to offender:          1111 6/2015

  Date Returned:                  11/16/2015
  Your appeal has been reviewed and I find:

     O ffender Edmo:

     Per WP ATH, The Standards of Care, Version 7. Hair removal is listed as an option or alternative not a requireme111 for GD
     treatment.

     Rona Siegert RN, CC HP-RN
     !DOC Health Services Director




Date: 11/1 6/201 5 13:28                        Created By: jwhittin                                           Page   2 of

CIS/Facilities/Main/Misc/Grievance Detail
      Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 37 of 61


              Case 1:17-cv-00151-REB Document 4 Filed 04/06/17 Page 12 of 13



                                            Idaho Department of Correction
                                                   Grievance Fonn


 Offender Name:              EDMO, MASON DEAN                                           Location:    ISCI

 Offender Number:            94691                                                      Number:      II 150001091

                                                                                        Ca tego1y:   ADM IN ISTRATION

 Offender Grievance Information
 Date Recei ved:                  10/0712015
 The problem is:

    Dr. Craig did not respond to my concern form about my mental hea lth issues which has caused me to lose parole eligibility.



 I have tried to solve this problem infonnally by:

    Sending concern form to Dr. Craig on 9/ 15115.



 I suggest the fo llowing sol ution for the problem:

    Dr. Craig respond to my issue of G. D. symptoms (hairstyles) resulti ng in my parole eligibi lity loss, and my treatment plan
    brought lo MTCC for implementation of appropriate mental health.


I Level 1 - Initial Response
 Date Forwarded:                  10/14/2015                       Date Returned:                              10/14/2015

 Date Due Back:                   10/28/2015                       Level 1 Responder:
 The response from the staff member or person in charge of the area/operation being grieved:

     No level one response.



 Level 2 - Reviewing Authority Response
 Date F01warded:                  10114/201 5                      Grievance Disposition:                      MODIFIED

 Date Due Back:                   10/30/2015                       Level 2 Responder:                          CRA IG, RICHARD

 Date Returned:                   10/22/2015                       Response sent to offender:                  I0/22/2015
 Your grievence has been reviewed and I find :

     Your concern fonn of 09/15/15 was recei ved and a response was entered on 9/27/15 (see attached). Offender Edmo's
     concerns were related to hair style and dress and she was informed that those were security issues and should be discussed
     with the Warden. In regards to mental health concerns, Offender Edmo was on the BHU at the time the concern fo rm was
     penned but moved to unit 15 the following day per her request. Since that time offender Edmo has been returned to the
     BH U on 09/29/15 and has access to mental health services.




Date: 10/22/20 15 13:58                         Created By: jwhit1in                                                  Page   I   of   2
CIS/Facilities/Main/Misc/Grievance Detail
       Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 38 of 61


               Case 1:17-cv-00151-REB Document 4 Filed 04/06/17 Page 13 of 13

II 150001091          EDMO. MASON DEAN                               9469 1


 Offender Appeal
 Offender Comments:




 Level 3 - Appellate Authority Response
  Date Appealed:                                                 Grievance Disposition:

  Date Forwarded:                                                Le vel 3 Responder:

  Date Due Back:                                                 Respqnse. sent to o ffender:

  Date Returned:
  Your appeal has been reviewed and I find:




Da te: 10/22/2015 13:58                      Created By: j whillin                              Page   2   of

C IS/Facilities/Main/Misc/Grievance Detail
       Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 39 of 61


              Case 1:17-cv-00151-REB Document 4-1 Filed 04/06/17 Page 1 of 12



                                            Idaho Department of Coffection
                                                   Grievance F onn


 Offender Name:              EDMO. MASON DEAN                                           Location:   ISCI
 Offender Number:            94691                                                      Number:     II 150000749

                                                                                        Category:   COM PLA INT AGA INST

 Offender Grievance Information
 Date Received:                  07/15/20 15
 The problem is:

     On 06-29-15 while at a property appt. with Sgt. Sidwell. Sidwell kept calling me "Mr. Edmo", "he"', "his". I respectfully
     reminded Sgt. Sidwell of S.O.P. 401 .06.03.50 I - section I0 on gender pronouns of my GD. He said "whatever" in response.
     On 07-01-15, again. Sgt Sidwell continued to use "he" and Mr. Edmo. Thi s is humiliating and offensive.



 I have tried to so lve this problem informally by:

     Reminding Sgt. Sidwell respectfully of SOP 401.06.03.501 , and sending concern form on 06-25-15 Lo Sgt. Sidwell.
     (Concern fonn attached).


 I suggest the fo llowing solution for the problem:

     Sgt. Sidwell instructed to follow !DOC policy 40 l .06.03.50 l - GID and SOP 207 Respectful Workplace. specifically
     section 07-02-1 1. and the harmful effects this has on my mental health.


 Level l - initial Response
 Date Forwarded:                  07/ 16/2015                      Date Returned:                            07/20/20 IS

 Date Due Back:                   07/30/2015                       Level I Responder:                        GREENLAND,
 The response from the staff member or person in charge of the area/operation being grieved:

     !SCI is a male faci lity and it is common placed and respectfu l to state something to the effect "Good morning sir how may
     I help you." I understand that this may offend you but it was not the intent. The staff member stated that you were upset
     about not being able to retain the items in the confiscation and had immediately threaten grievance before even explaini ng
     your status as a GID offender. I will talk to Sgt. Sidwell about this and I do believe that he wi ll try to correct how he
     address you in the future. But understand this fac il ity is a male fac ility and it may occur again. I would ask that before you
     threaten grievance attempt to exp lain to staff your issue firs t.




Date: 08/31120 15 15: 12                        Created By: jwhittin                                                Page   I   or
CIS/Facilitics/Main/Misc/Grievance Detail
        Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 40 of 61


                Case 1:17-cv-00151-REB Document 4-1 Filed 04/06/17 Page 2 of 12
II 150000749             EDMO. MASON     D~                                9~691



I Level 2 - Reviewing Authority Response
 Date Forwarded:                   07/20/ 2015                         Grievance Disposition:               MODIFIED

 Date Due Back:                    08/05/ 2015                         Level 2 Responder:                   PEN EKU. LEROY

 Date Re turned :                  0 7/ 21 / 2015                      Response sent lo offender:           07/22/2015
 Your g rievence has been reviewed and I find:

     Inmate Edmo - This is a male correctional fa cility, staff are accusto m to addressing the population as such. I'm s ure the
     Sergea nt meant no disrespect towards you, nor did he lly to humi liate you. We will address your concern with Sergeant
     Sidwel l.


 Offender Appeal
 Offender Comments :

     Upon review of policies 401.06.03.50 I (GID) and 207.07.02.11 (Respectful workplace - offenders) an excuse of w hether
     this is a ma le instinttion or female institution does not excuse accountability. These policies do not allow fo r any s taff
     member in either a male or a fema le institution to address a GID inmate, as myself. w ith gender spec ifiers. or pronouns.
     Sgt. Sidwell , as a Sgt. should be will aware of policy and procedures. These intentional unexcusable. humiliating. and
     offensive use of "mr", ("sir"), etc, masculine pronouns need to stop. This is the 3rd g1ievance against staff for such
     misconduct. It is a repetitive behavior. Staff must be able to modify behavior as a professional while at work as a
     correctional officer.




 Level 3 - Appellate Authority Response
 Date Appealed:                    08/J 1/2015                         Grievance Disposition:               MODIFIED

 Date Forwarded:                   08/J 2/20 15                        Level 3 Responder:                   YORDY, HOWARD

 Date Due Back:                    08/ 3 1/ 20 15                      Response sent to offender:           08/ 31 / 20 15

 Date Returned:                    08/ 31 /20 15
 Your appea l has been reviewed and I find:

     The policy does state sta ff are to be gender neutral when addressing GID offenders. Although. I don't believe it was
     intentional, we need to make bener awareness to our staff.

      Warden Yordy




Date: 08/3 I /20 15 15: 12                          Created By: j whiuin                                              Pa g~   of     2

C lS /Facilities/Main/Misc/Gricvance Detail
     Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 41 of 61


            Case 1:17-cv-00151-REB Document 4-1 Filed 04/06/17 Page 3 of 12



                                               Idaho Department of CoITection
                                                      Grievance F 01m


 Offender Name:                EDMO, MASON DEAN                                               Location:   !SCI

 Offender Number:              9469 1                                                         Number:     II 150000555

                                                                                              Category:   COMPLAINT AGA INST

 Offender Grievance Information
 Date Received:                     05121 120 15
 The problem is:

     05- 13- 15 Cpl. Plumer #0 101 had kept call ing me him, Mr., and he which is not allowed per SOP 's 401 .06.03.50 1 section
     I 0, and SOP 207.0 7.0 2.11.


 I have tried to solve this problem informally by:

     Sending Plumer a concern form on 05-13-15, and reminding him that we have been through lhis before.



 l suggest the fo llowing so lution fo r the problem:

     Cpl. Plumer be instructed to fo llow IDOC po licies as instructed.




 Level 1 - Initial Response
 Date Forwarded:                    05/21 /2015                         Da te Returned:                            0512 1120 [ 5

 Date Due Back:                     06/04/2015                          Level 1 Responder:                         GOULD, DA YID
 The response from the staff member or person in charge of the area/operation being grieved:

     Please understand that you are housed in an all male facility, and that sta ff address indi•!iduals housed here as Mr. or him all
     day long. I'm sure that it was not done in malice. l wi ll remind Cpl. Plumer of this policy.




 Level 2 - Reviewing Authority Response
 Da te Forwarded:                    05/21/201 5                        G rievance Dispositio n:                   GRANTED

  Date Due Back:                     06106120 15                        Level 2 Responder:                          PENE KU, LEROY

  Date Returned:                     05/2 l/20 [ 5                      Response sent to offender:                 0512 1/2015
 Your grievence has been reviewed and I fi nd:

     Inmate Edmo - Considering that this is a male correctional faci lity, staff become accustom to addressing the population as
     such. I'm sure the Cpl meant no disrespect towards you. We will address your concern with Cpl. Plumer.




Date: 06/ 16/20 15 12:29                             Created By: jwhittin                                                   Page   I   or   2

C IS/Fac il ities/Main/Misc/Grievance Detail
      Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 42 of 61


               Case 1:17-cv-00151-REB Document 4-1 Filed 04/06/17 Page 4 of 12
11 150000555           EDMO, MASON D                                     94691


 Offender Appeal
 Offender Comments:

     Policies 207 and 401.06.03.50 I do not allow exceptions for staff in male correctional facilities to intentionally d isregard
     policy. Cpl. Plumer is well versed abou t my status as an GID offender as Cpl. Plumer has worked in ISC I's BH U where
     G ID offenders are usually housed - this "general" population statement cannot suffice justification. Cpl. Plumer must be
     clearly adv ised of these policies.


  Level 3 - Appellate Authority Response
  Date Appealed:                    06/04120 I 5                    Grievance Di sposition:                 MODIFIED

  Date Forwarded:                   06/1012015                       Level 3 Responder:                     YORDY, HOWARD

  Date Due Back:                    06/2612015                       Response sent to offender:             06/16/2015

  Date Returned:                    06116/2015
  Your appeal has been reviewed and I find :

      Sta ff have addressed the issue with Corporal Plumer and he has been advised of the policy. I don't believe it was
      intentional but it is di fficu lt for staff to remember to address GD offenders with non-gender identifiers.

      Warden Yordy




                                                                                                                       "     ·'
                                                                                                                                  , ...        .J
                                                                                                                                          -·
                                                                                                                                          ~

 Date: 06/ 16/201 5 12:29                          Created By: jwhinin
                                                                                                                  •   Page   2     of          2

C IS/Fac iliticsfMain/M isc/Grievance Detail
       Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 43 of 61


              Case 1:17-cv-00151-REB Document 4-1 Filed 04/06/17 Page 5 of 12

  IDAHO
DEPARTMENT OF
 CORRECTION
                                              Idaho Department of Correction
                                                     Grievance Form


 Offender Name:                EDMO, MASON DEAN                                           Location:   !SCI

 Offender Number:              94691                                                      Number:     II 1600005 17

                                                                                          Category:   CONDITIONS OF

 Offender Grievance Infonnation
 Date Received:                    05/09/20 16
 The problem is:

     I am an being denied equal protection of the laws by C.S. C lark, Sgt. N immo, and MTC of SOP 401.06.03.501 by not being
     a llowed to move out of BH U because of my status as an GID inmate of IDOC, and because of DOR history. This is a
     violation of my 14th am endment rights.


 I have tried to solve this problem informally by:

     Sending concern forn1s to: Clinician Houser 02/08/1 6, Clinician Irvin 0 2/20116, C.S. Clark 04/ 1111 6, Ashley Dowell
     04116/16, and speaking to Dr. Scott Eliason 04 /20/16.


 I suggest the fol lowing solution for the problem:

     Be moved out ofBHU ASAP and into general population ASAP and remedied of my constitutional rights of being treated
     equa lly.


 Level 1 - Initial Response
 Date Forwarded:                    05/1 1/20 16                     Date Returned:                             05/ 12/20 16

 Date Due Back:                     05/25/20 16                      Level I Responder:                         HOUSER, AMY
 The response from the staff member or person in charge of the area/operation being g rieved:

     Housing placement for Gender Dysphoria (GD) inmates are reviewed through the Management and Treatment Committee
     on a qua11erly basis. I have been informed that Edmo's placement in Unit 16 will be addressed in the beginning of June
     201 6.
     Amy Houser
     C linician, !SCI




Date: 06/29/201 6 18:04                            Created By: kawillso                                                 Page   I   of

CIS/ Facilitics/ Main/Misc/Grievance Delail
       Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 44 of 61


               Case 1:17-cv-00151-REB Document 4-1 Filed 04/06/17 Page 6 of 12
II 160000517           EDMO, MASON DEAN                                   94691


 Level 2 - Reviewing Authority Response
 Date Fotwarded:                    05/12/2016                       Grievance Disposition:             MODIFIED

 Date Due Back :                    05/28/20 16                      Level 2 Responder:                CLARK, JEREMY

 Date Returned:                     05/23/20 16                      Response sent to offender:        05123/2016
 Your grievence has been reviewed and I find:

     Per Pol icy 401.06.03.50 1, the Management and Treatment Committee (MTC) is responsible for reviewing and determining
     housing placement for inmate who have Gender Dysphoria. The committee is aware of your desire to be moved out of Unit
     16, and this will be reviewed in our next MTC meeting which is currently scheduled for June I st, 2016. The decision of the
     committee will be given to you sho11ly after that meeting.




 Offender Appeal
 Offender Comments:

     SOP# 401.03.50 I ; MTC determines the placement for G ID inmates, etc. Clinician Hahn had informed me that the MTC
     had determined my moving out of BHU would not be possible because of my behaviors, DOR's and risk in other units. I do
     not agree and believe these are pretext reasons to keep me in BHU because of my membership in a suspect class, namely,
     GID inmate a deliberate attempt to keep me uncomfo11able and frustrated because I am a GID inmate. I previously livend
     within BHU but had an issue because of my medical provider's deliberate indifference to my medical needs and honnone
     monitoring. I've had more DO R's in BHU because of bias staff and because of unstable inmates. Please move me to General
     Population.




 Level 3 - Appellate Authority Response
 Date Appealed:                     06/08/20 16                      Grievance Disposition:             MODIFIED

 Date Fo1warded:                    06/ 10/20 16                     Level 3 Responder:                 DOWELL, ASHLEY

 Date Due Back:                     06/26/2016                       Response sent to offender:         06/29/2016

 Date Returned:                     06/29/2016
 Your appeal has been reviewed and I find:

     Thank you for outli ning your concerns about your cuITent housing and placement. As Clinical Supervisor Clark noted, the
     Management Treatment Committee (MTC) is responsibl e for reviewing and determining placement for inmates with
     Gender Dysphoria per Policy 401 .06. 03. 50 I. You are correct in that the MTC recommended your continued placement in
     the Behavioral Health Unit on June 1, 20 16. Per Policy 401.06.03.501, the Administrative Review Committee (ARC)
     reviews the Management and Placement Plan recommended by the MTC, consults with members of the MTC to address
     questions or concerns, and recommends approving or denying the plan. The Director of IDOC then chooses whether or not
     to accept the ARC's recommendation. As your request for placement is still in the review process, a final determination
     regarding housing and placement has not been made.

     Ashley Dowell , LCPC, CCHP-MH
     Deputy Chief- Prisons Division
     Idaho Department of Correction




Date: 06/29/20 16 18:04                            Created By: kawillso                                         Page   2   of

CIS/Facili ties/ Main/ Misc/Grievance Detail
     Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 45 of 61


             Case 1:17-cv-00151-REB Document 4-1 Filed 04/06/17 Page 7 of 12



                                               Idaho Department of Correction
                                                      Grievance Form


 Offender Name:                EDMO, MASON DEAN                                            Location:   !SCI

 Offender Number:              9469 1                                                      Number:     II 150000413

                                                                                           Category:   COMPLAINT AGAINST

 Offender Grievance Information
 Date Received:                     04/22/2015
 The problem is:

     Cpl. Elliot keeps calling I using gender pronouns when talking to me, he uses "Mr Edmo", "Sir" and "he". I've told him
     about policy 401.06.03.501 on 04-14-15, and on 04-15-15 and 04-16-15 he continues to disregard this policy, making me
     feel humiliated. Cpl. Elliot states he was told I am not in the GID program anymore - GID is not a program.



 1 have tried to solve this problem informally by:

     Talking to Cpl. Elliot on 04-14-1 5, writing concern to Elliot on 04-16-15 and talking to Lt. Clark on 04-16-15.



 I suggest the following solution for the problem:

     Cpl. Elliot be given reprimands for disregarding !DOC policy.



 Level I - Initial Response
 Date Forwarded:                    04/23/2015                        Date Returned:                            04/24/20 15

 Date Due Back:                     05/07/20 15                       Level 1 Responder:                        MELDRUM,
 The response from the staff member or person in charge of the area/operation being grieved:

      Offender Edmo-
        While I respect your concern of Cpl. Elliot's comments, I remind you that ISCI has approximately 1600 male offenders
      so unfortunately, mistakes will happen. I will work with Cpl. Elliot to ensure that he is made aware of and follows policy
      401.06.03.501.




Date: 06/09/20 t 5 I I: 14                        Created By: j whittin                                                 Page   I   of   2

C IS/ Fac ilities/Main/Misc/Grievance Detail
     Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 46 of 61


            Case 1:17-cv-00151-REB Document 4-1 Filed 04/06/17 Page 8 of 12
II 150000413           EDMO, MASON L                                      94691


 Level 2 - Reviewing Authority Response
 Date Forwarded:                   04/27/2015                         Grievance Disposition:                              MODIFIED

 Date Due Back:                    05/13/20 15                        Level 2 Responder:                                  PEN EKU, LEROY

 Date Returned:                    04/28/2015                         Response sent to offender:                          04/30/2015
 Your grievence.has been reviewed and I find:

     Inmate Edmo - Sgt Meldrum wi ll remind his sta ff how to appropriately address inmates.



 Offender Appeal
 Offender Comments:

     The incident involving Cpl. Elliott is not an isolated incident. This is a common, re-occun-ing problem with staff that I
     encounter about daily. It is very obvious I am trans and undergoing sex reassignment treatment per !DOC SOP
     401.06.03.50 I. I believe in my circumstances it's not a mistake but a mere purposeful behavior directed towards me as a
     trans-woman. Sgt. Meldmms I 600 male offender excuse is an institutional excuse that is a generalization of not being
     accountable for staff behaviors. This causes me great humiliation, embarrassment and highly increases my gender
     dysphoria of my male genitalia. More effort and awareness is cmcially needed.




 Level 3 - Appellate Authority Response
 Date Appealed:                    05/I 8/2015                        G rievance Disposition:                             MOD IFIED

 Date Forwarded:                   05/ 19/2015                        Level 3 Responder:                                  YORDY, HOWARD

 Date Due Back:                    06/05/2015                         Response sent to offender:                          06/09/20 15

 Date Returned:                    06/08/2015
 Your appeal has been reviewed and I find:

     Supervisors are addressing the issue with staff. I can appreciate you wanting staff to follow the gender neutral guidelines
     you are entitled to but I don't think staff are doing it intentionally. This is a male facility and staff become accustomed to
     saying male identifi ers. We wi ll continually work on this issue.

     Warden Yordy




                                                               •...                        ~
                                                                                            \ ...-...   .,   r
                                                                                                                 ,,..'}
                                                                                                l

                                                                                                "        •   "    ..      '



Date: 06/09/2015 11:14                           Created Cly: jwhittin                                                            Page   2   o f'   2

C JS/ Facilities/Main/Misc/Grievance Detail
      Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 47 of 61


             Case 1:17-cv-00151-REB Document 4-1 Filed 04/06/17 Page 9 of 12



                                             Idaho Department of Correction                                        VCT 16 2015
                                                    Grievance Form


 Offender Name:               EDMO, MASON DEAN                                          Location:   ISCI

 Offender Number:             94691                                                     Number:     II 150000191

                                                                                        Category:   SECURJTY

 Offender Grievance Information
 Date Received:                    02/17/2015
 The problem is:

     On 02-07-15 Cpt. Schlienz authorized my placement into unit 8 because offeminem behaviors due to my gender dysphoria.
     Overall feminem appearance I effeminate hairstyle as noted to be a violation ofIDOC policy #325, which is also a violation
     of my constitutional rights.


 I have tried to solve this problem informally by:

     Sending concern form to Cpt. Schlienz and speaking with Warden Yordy about "feminem hairstyles" and what that exactly
     entails - no answer.


 I suggest the following solution for the problem:

     This grievance fmwarded to a IDOC administrator better positioned to clarify what a "feminem hairstyle" is exactly defined
     as for offenders with gender dysphoria.


 Level 1 - Initial Response
 Date Forwarded:                   02/19/2015                      Date Returned:                            02/19/2015

 Date Due Back:                    03/05/2015                      Level 1 Responder:                        SCHLIENZ, RODNEY
 The response from the staff member or person in charge of the area/operation being grieved:

     After reviewing the related documents regarding this issue, I concur with the statement of authorizing the placement of this
     inmate into restrictive housing. However, placement was for a deliberate indifference to the direction Cpl. Bollman had
     given regarding the removal of the feminine and/or effeminate hair style and failure to comply with SOP 325.



 Level 2 - Reviewing Authority Response
 Date Forwarded:                   02119/2015                      Grievance Disposition:                    MODIFIED

 Date Due Back:                    03/07/2015                      Level 2 Responder:                        PENEKU, LEROY

 Date Returned:                    02/27/2015                      Response sent to offender:                03/02/2015
 Your grievence has been reviewed and I find:

     Inmate Edmo - According to the reports, you were placed in restrictive housing because you failed to follow the
     instructions of a correctional staff. Per the response Warden Yordy provided in grievance #II 140000914, he stated the
     following,

     "The policy states the warden is to make the decision on whether an offender's hair style is effeminate or not. The direction
     I gave Edmo was if staff felt the hairstyle was effeminate, they were to photograph the style and I would make that
     determination later. The offender was to follow staffs immediate direction at the time. I don't believe I could give a
     definition of what an effeminate
Date: 03/23/2015 11 :52                         Created By: jwhittin                                                Page   I   of   2

C IS/Facilities/Main/Misc/Grievance Detail
      Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 48 of 61


            Case 1:17-cv-00151-REB Document 4-1 Filed 04/06/17 Page 10 of 12

II 150000 191          EDMO, MASON DEAN                               94691


     hairstyle is other than the stylers intent to make it feminine in nature. The hairstyles I would be concerned with are those I
     believe are intended to look female"

     In his response the Warden states that "you are to follow staffs immediate direction at the time". You failed to do so, and
     for that you were placed in restrictive housing. It's in your best interest to fo llow and comply w ith the rules, policies, SOP's
     and laws established within the IDOC.


 Offender Appeal
 Offender Comments:

     It is clearly not noted that I had in fact corrected the issue and complied with staffs direct order to "remove hair from a
     bun". Policy #325 does not specifically state "ear level" or below for a ponytail, therefore, I had not violated IDOC SOP's,
     rules, laws or policies as Dep. Warden Peneku states. In DOR #150854, the DOR in conjunction with this grievance I
     appeal clearly states I had obeyed correctional staff. Pony tails I wear are not intended to be feminine in nature. As
     indicated by Warden Yordy if the staff are in question, a picture should be taken and sent to Yordy for determination, which
     had not happened. This is clearly malicious harassment by staff because of my mental condition of gender dysphoria, a
     violation of the U.S. constitution and Idaho code section 18 chpts. 7301 and Idaho code sect. 67.




 Level 3 - Appellate Authority Response
 Date Appealed:                   03/05/2015                      Grievance Disposition:                     DENIED

 D ate Forwarded:                 03/09/201 5                     Level 3 Responder:                         YORDY, HOWARD

 Date Due Back:                   03/25/201 5                     Response sent to offender:                 03/23/2015

 Date Returned:                   03/23/20 15
 Your appeal has been reviewed and I find:

     Staff gave you clear direction in addressing your hair that you repeatedly chose not to follow. The captain appropriately
     removed you from general population after you continued to ignore staffs direction. The actions of staff were fair and
     consistent with policy.

     Warden Yordy




Date: 03/23/2015 I I :52                        Created By: jwhinin                                                   Page   2   of   2

CIS/Facilities/Main/Misc/Grievance Detail
      Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 49 of 61


             Case 1:17-cv-00151-REB Document 4-1 Filed 04/06/17 Page 11 of 12


                                              Idaho Depa1iment of Correction
                                                     Grievance Form


 Offender Name:               EDMO, MASON DEAN                                            Location:   ISCI

 Offender Number:             94691                                                       Number:     II 140001365

                                                                                          Category:   MEDICAL/HEALTI-I CARE
 Offender Grievance Information
 Date Received:                    12/ 17/20 14
 The problem is:

     Not being allowed panties as a medically necessary undergarment approved by Dr. Whinne1y , IDOC states, it does not
     allow for panties.


 I have tried to solve this problem infonnally by:

     Submitting I-ISR #71648 1, & concern fonn to Dr. Whinnery on 11-16-14.



 I suggest the following solution for the problem:

     Be given a medical memo to possess I purchase panties from commissary as approved by Director Rienke, Dr. Whinnery,
     and IDOC A.R.C.


 Level I - lnitial Response
 Date F01warded:                    12/17/20 14                      Date Returned:                            12/19/2014

 Date Due Back:                     12/31/2014                       Level I Responder:                        CARLSON LESLIE
 The response from the staff member or person in charge of the area/operation being grieved:

     Panties are not," medicaliy necessary." This is a corr,fort issue. Please take this issue up -with Idaho Department of
     Corrections.


 Level 2 - Reviewing Authority Response
 Date Fo1warded:                    12/ 19/2014                      Grievance Disposition:                    DEN IED

 Date Due Back:                     01/02/2015                       Level 2 Responder:                        VALLEY, RYAN

 Date Returned:                     12/19/2014                       Response sent to offender:                 12/22/201 4
 Your gricvence has been reviewed and I find :

      Edmo,
      There is no medical need for you to be given panties to wear. If you would like to request panties, this needs to be made to
      the Idaho Department of Corrections.




Date: 0 t/09/20 I 5 I 0:58                        Crealed By: jwhittin                                                 Page   I of

C IS/Facilities/Main/ Misc/Grievance Detail
      Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 50 of 61


             Case 1:17-cv-00151-REB Document 4-1 Filed 04/06/17 Page 12 of 12
II 140001365             EDMO, MASON Dl                                  94691


 Offender Appeal
 Offender Comments:

     As decided by A.R.C. Medical would have determine appropriateness, and Dr. Whinnery clearly slates she would provide a
     medical memo for women's underwea r on concern fonn dated Nov. 16. 201 4. This is deliberate indifference to a serious
     medical need. Panties and underwear are medical necessities, !DOC allows @ SBWCC, I am a similarly situated
     individual. There is no substanti al penological concern justifying denial of a clearly stated medical need indicated by my
     provider Dr. Whinnery. !DOC is contracted w/Corizon therefore both need be able to allow for such medical necessities.




 Level 3 - Appellate Authority Response
 Date Appealed:                    I2/30/2014                        Grievance Disposition:             DENIED

 Date Forwarded:                  12/30/20 14                        Level 3 Responder:                 SIEGERT, RONA

 Date Due Back:                   01 /15/20 15                       Response sent to offender:         01 /09/2015

 Date Returned:                   01/08/20 15
 Your appeal has been reviewed and I find:

     Revised Grievance Appeal Response Dated 1/8/ 15:

     Offender Edmo:

     Upon furth er research and discussion, the response I provided to Grievance II 4000 1365 is incorrect. Female underpants are
     only allowed when determined to be medically necessary not based on a GID diagnosis.

     Rona Siegert RN, CC HP-RN
     !SC I Health Services Director




                                                                                                  •

Date: 0 1/09/201 5 I 0 :58                       Created 13y: jwhittin                                          Page   2   of

CIS/ Facilities/Main/Misc/Grievance Detail
       Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 51 of 61


               Case 1:17-cv-00151-REB Document 4-2 Filed 04/06/17 Page 1 of 10



                                            Idaho Depaiiment of Correction
                                                   Grievance Form                                                      ocr It rB za15

 Offender Name:              EDMO, MASON DEAN                                              Location:   !SC I

 Offender Number:            94691                                                         Number:     [[ 140001365

                                                                                           Category:   MEDICAL/H EALT HCARE

 Offender Grievance Information
 Date Recei ved:                  12/1 7/2014
 The problem is:

    Not bei ng allowed panties as a medically necessary undergarm ent approved by Dr. Whinnery, !DOC states, it does not
    allow for panties.


 I have tried to solve this problem informally by:

     Submitting HSR #716481 , & concern f01m to Dr. Whinnery o n 11-16-14.



 I suggest the following solution for the problem:

     Be given a medical memo to possess I purchase panties from commissary as approved by Director Rienke, Dr. Whinnery,
     and !DOC A.R.C.


 Level 1 - Initial Response
 Date F01warded:                  12/17/20 14                         Date Returned:                            12/19/20 14

 Date Due Back:                   12/31 /20 14                        Level I Responder:                        CARLSON LESLIE
 The response from the staff member or person in charge of the area/operation bei ng grieved:

     Panties are not," medically necessary." This is a comfo rt issue. Please take this issue up wi th Idaho Department of
     Corrections.


 Level 2 - Reviewing Authority Response
                                                                                                                               -··- -- ·---- 1
 Date Forwarded:                  1211 9/2014                         Grievance Disposition:                    DEN IED

 Date Due Back:                   01/02/2015                          Level 2 Responder:                        VALLEY, RYAN

 Date Returned:                   12/19/2014                          Response sent to offender:                 12/22/2014
 Your grievence has been reviewed and I find:

     Edmo,
     There is no medical need for you to be given panties to wear. !f you would like to request panties, this needs to be made to
     the Idaho Department of Corrections.




Dale: 12/30/201 4 15: 52                         Created By: j wh itlin                                                 Page     I   of    2

CIS/Facililies/Main/Misc/Grievance Detail
       Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 52 of 61


               Case 1:17-cv-00151-REB Document 4-2 Filed 04/06/17 Page 2 of 10
II 140001365           EDMO, MASON     DEA 1~                           94691


 Offender Appeal
 Offender Comments:

     As decided by A.R.C. Medical would have determine appropriateness, and Dr. Whinnery clearly states she would provide a
     medical memo for women's underwear on concern fom1 dated Nov. 16. 2014. This is deliberate indifference to a serious
     medical need. Panties and underwear are medical necessities, !DOC allows@ SBWCC, I am a si milarly situated
     ind ividual. There is no substantial penological concern justifying denial of a clearly stated medical need indicated by my
     provider Dr. Whinnery. !DOC is contracted w/Corizon therefore both need be able to allow for such medical necessities.




 Level 3 - Appellate Authority Response
 Date Appealed:                   12/30/2014                        Grievance Disposition:             MODIFIED

 Date Forwarded:                  12/30/ 2014                       Level 3 Responder:                 SIEGERT, RONA

 Date Due Back:                   01/15/2015                        Response sent to offender:          12/30/2014

 Date Returned:                    12/30/201 4
 Your appeal has been reviewed and 1 find:

     Offender Edmo:

     Medical has detennined that special undergarments are not medically necessary. With a GID diagnosis you are allowed to
     have the same undergarments that the other female offenders have. Please contact your Unit Sergeant for the process on
     how to be issued female undergarments.

     Rona Siegert RN , CCHP-RN
     IDOC Health Services Director




                                             Pr-ev\ous op~(
                                             res p<1Y7se                vv Ol5
                                                , V\   co vvec......+.




Date: 12/30/20 14 I 5: 52                        Crca1ed By: jwhittin                                           Page   2 of        2

CIS/Facilitics/Main/M isc/Grievance Detail
      Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 53 of 61


              Case 1:17-cv-00151-REB Document 4-2 Filed 04/06/17 Page 3 of 10


                                             Idaho Department of Correction
                                                    Grievance Form


 Offender Name:               EDMO, MASON DEAN                                             Location:   ISCI

 Offender Number:             94691                                                        Number:     II 140001364

                                                                                           Category:   ADMINI STRATION

 Offender Grievance lnfonnation
 Date Received:                    12/17/20 14
 The problem is:

     I have not been able to have a new !DOC offender ID badge made with a new picture and a gender change from male to
     female on the !DOC card.


 I have tried to solve this problem informally by:

     Sending concern forms to !DOC I ISCI ID officer, and concern form to Dr. Craig dated 11 - 10-14 & 11-15-14.



 I suggest the foll owing solution for the problem:

     Scheduled a time to have a new picture taken, and the gender I sex marker on the !DOC badge changed from male to
     female as soon as possible.


 Level 1 - Initial Response
 Date Forwarded:                   12/1 7/20 14                       Date Returned:                            12/23/20 14

 Date Due Back:                    12/31 /2014                        Level 1 Responder:                        THOMPSON,
 The response from the staff member or person in charge of the area/operation being grieved:

     On 12-10-1 4, at about 1330 hours, I captured new portrait and profile photos for your offender fil e. Also, I printed a new
     IDOC offender ID badge for you at that time. We discussed your concern about the sex which is printed on the ID card.
     informed you that ISC I staff cannot alter the sex listed in your fil e. Finally, I advised you to seek legal resources which
     may assist you in making the desired changes through the courts.




Date: 0 1/1 2/201 5 14:59                         Created By: j whittin                                                Page   I   of   2
C IS/Facilitics/Main/Misc/Grievancc Detail
      Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 54 of 61


                Case 1:17-cv-00151-REB Document 4-2 Filed 04/06/17 Page 4 of 10
II 140001 364          EDMO, MASON DL           .                          94691


 Level 2 - Reviewing Authority Response
  Date Forwarded:                    12/23/2014                       Grievance Disposition:             MODIFIED

  Date Due Back:                     01 /08/2015                       Level 2 Responder:                COBURN, GARRETT

  Date Returned:                     12/29/2014                        Response sent to offender:        12/29/201 4
  Your grievence has been reviewed and I find:

     You were provided with a new ID. However due to the fact that your physical gender is male, we will not be changing your
     ID to reflect you being a femal e.


  Offender Appeal
  Offender Comments:

     I do not understand - this decision to reflect any real security concern other than personal intentions to inflict more
     emotional stress from IDOC staff, specificall y - !SC! administratio n. l am asking the appellate authority to thoroughly
     review my request and holi stically make a decis ion to consider my request. D.W. Coburn's reply clearly depicts a lack of
     knowledge about an offender diagnosed with a mental condition of gender dysphoria. Sex is the biological genetic make up
     of a person, as gender is a societal structured behavior and or perception a society follows, two clearly different
     associations. Dr. Eliason has signified I changed genders from ma le to female, as well as Dr. Whinnery. This is also part of
     sex reassignment treatment being provided to me by IDOC in contract with Corizon medical providers.




  Level 3 - Appellate Authority Response
  Date Appealed:                     12/3 1/20 14                      Grievance Disposition:            DEN IED

  Date Forwarded:                    12/31 /2014                       Level 3 Responder:                YORDY, HOWARD

  Date Due Back:                     01/16/201 5                       Response sent to offender:        0 1/12/2015

  Date Returned :                    01/12/20 15
  Your appeal has been reviewed and I find:

      We are not going to change your sex on your ID card. Our facili ty has correctly identified you as male.

      Warden Yordy




Date: 0 1112/20 15 14:59                            Created By: jwhittin                                         Page   2   of   2

C !S/Facilitics/Mai n/Misc/G rievance Detai l
        Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 55 of 61


               Case 1:17-cv-00151-REB Document 4-2 Filed 04/06/17 Page 5 of 10




                                            Idaho Department of Correction
                                                   Grievance Form

  Offender Name:              EDMO, MASON DEAN                                             Location:   !SCI

  Offender Number:            94691                                                        Number:     II 140000914

                                                                                           Category:   ADMlNISTRATION

  Offender Grievance Information
 Date Received:                   08/08/2014
 The problem is:

     Had an incident concerning my "hair style" on 07-9-14. Concerned Warden Yordy & sent letter to Yordy dated 07-09-14
     Re: Incident w/ C/O White. Warden Yordy will not provide me with a accurate direction of what a "feminine hairstyle" is
     or is not


 I have tried to solve this problem informally by:

     Sending letter to Warden Yordy on 07-09-1 4; sending concern form to Warden yordy on 07-09-14 addressing this issue.



 I suggest the following solution for the problem:

     Being given a direct definition of what a "feminine hairstyle is according to a offender diagnosed as GID and undergoing
     sex reassignment treatment!


I Level 1 - Initial Response
 Date Forwarded:                  08/ 12/2014                         Date Returned:                            08/12/2014

 Date Due Back:                   08/26/2014                          Level 1 Responder:
 The response from the staff member or person in charge of the area/operation being grieved:

     No level one response due to nature of grievance.



I Level 2 - Reviewing Authority Response
 Date Forwarded:                  08/12/201 4                     Grievance Disposition:                        DENIED

 Date Due Back:                   08/28/201 4                     Level 2 Responder:

 Date Returned:                   08/12/2014                      Response sent to offender:
 Your grievence has been reviewed and I find:

     No level two response due to nature of grievance.




Date: 09/02/2014 16:12                        Created By: jwhi •.ln                                                   Page   1 of   2

C!S/Facilities/Main/Misc/Grievance Detail
        Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 56 of 61


               Case 1:17-cv-00151-REB Document 4-2 Filed 04/06/17 Page 6 of 10


II 140000914              EDMO, MASON DEAN                                94691


I Offender Appeal
  O ffender Comments:

     See above.



I Level 3 - Appellate Authority Response
  Date Appealed:                  08/12/2014                         Grievance Disposition:              DENIED

  Date Forwarded:                 08/12/2014                         Level 3 Responder:                  YORDY, HOWARD

 Date Due Back:                   08/28/2014                         Response sent to offender:          09/02/2014

  D ate Returned:                 09/02/2014
  Your appeal has been reviewed and I find:

     The policy states 1he warden is to make the decision on whether an offender's hair style is effeminate or not. The direction I
     gave Edrno was if staff felt the hairstyle was effeminate:, they were t-0 photograph the style and I would make that
     determination later. The offender was to follow staff's immediate direction at the time. I don't believe I could give a
     definition of what an effeminate hairstyle is other than the styler's intent to make it feminine in nature. The hairstyles I
     would be concerned with are those I believe are intended to look female.

     Warden Yordy




Date: 09/0212014 16: 12                      Created By: jwhit 5;i                                               Page t. 2   of   2

CIS/Faci!ities/Main/Misc/Grievance Detail                                                                           ..
                                                                                                                 ~., :
      Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 57 of 61


             Case 1:17-cv-00151-REB Document 4-2 Filed 04/06/17 Page 7 of 10



                                            Idaho Depart1nent of Correction
                                                   Grievance Form


 Offender Name:              EDMO, MASON DEAN                                             Location:    !SCI

 Offender Number:            94691                                                        Number:      I! 1400003 12

                                                                                          Category:    MEDICAL/HEALTH CARE

 Offender Grievance Information
 Date Received:                  03/07/2014
 T he problem is:

    Sent concern fotm to HSA about issues concerning Gender Reassignment surgery. Ma llet #8769 responded that Gender
    Reassignment surgery is unavailable. S. Mallet #8769 is not a M.D. to make this decision, nor is Regional Director Young
    qualified to base decisions through concern forms without seeing me personally.



 I have tried to solve thi s problem informally by:

    S ubmitting HS R's, talking to clinicians, submitting concern forms.

    Note: Only one concern form is submitted with grievance.


 I suggest the following solution fo r the problem:

     Allowed to be seen by a GID evaluator special ist.



I L evel 1 - Initial Response
 D a te Forwarded:                03117/201 4                       Date Returned:                               03/17/201 4

 Date Due Back:                   03/21/20 14                       Level l Responder:                              PlLOTE, KIMBERLY
 T he response from the staff member or person in charge of the area/operation being grieved:

     Dr. Young is a qualified health care provider and is capable of making decisions regarding your care. However, gender re-
     assignment surgery is not medically necessary. Please submit an HSR if your have any other issues. Thanks.



                                                                                         3- 20- I Y---         ~ ;s. ', 5>
                                                                                     -t-n e c_ o v--re_ ~              Ce)   f) ·
                                                                                     \r-f fl \r\ U. d --\-(/\. e_   \JV YO    V\. )
                                                                                      ~ 0<_ yV'2 ~              r+h e.-
                                                                                         l 5 ~ ~ S-6JcfY\d.. Q._V .
                                                                                         ~--o   vvj.

Date: 03/20/2014 12:42                          Created By: j whittin

CIS/Facilities/Main/Misc/Grievance Detail
      Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 58 of 61


               Case 1:17-cv-00151-REB Document 4-2 Filed 04/06/17 Page 8 of 10
II 140000312          EDMO, MASON DE.                                    9469 1


 Level 2 - Reviewing Authority Response
 D ate Forwarded:                  03/17/20 14                      G rievance Disposition:           DEN IED

 Date Due Back:                    03131120 14                      Level 2 Responder:                VALLEY, RYAN

 Date Returned:                    03117/2014                       Response sent to offender:        03/18/2014
 Your grievence has been reviewed and I fin d:

     You have been seen by medical providers that are liccensed to practice in the State of Idaho. Your gender re-assignment
     surgery is not medically necessary and there fo re has not been recommended by our providers.



 Offender Appeal
 O ffender Comments:




[ Level 3 - A ppellate Authority Response
 Date Appealed:                                                     Grievance Disposition:

 D ate Forwarded:                                                    Level 3 Responder:

 D ate Due Back:                                                    Response sent to offender:

 D ate Returned:
 Your appeal has been reviewed and I find:




Date: 03/20/2014 12:42                           Created By: jwhittir,                                         Page   2   of   2

CIS/Facilities/tvlain/Misc/Grievance Detail
       Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 59 of 61


              Case 1:17-cv-00151-REB Document 4-2 Filed 04/06/17 Page 9 of 10



                                             Idaho Department of Correction
                                                    Grievance Form


 Offender Name:               EDMO, MASON DEAN                                           Location:   !SCI

 Offender N umber:            94691                                                      Number:     II 1400003 12

                                                                                         Category:   MEDICAL/HEALTHCARE

 Offender Grievance Information
 Date Received:                   03/07/2014
 The problem is:

    Sent concern form to HSA about issues concerning Gender Reassignment surgery. Mallet #8769 responded that Gender
    R eassignment surgery is unavailable. S. Mallet #87fi9 is not a M.D. to make this decision, nor is Regional Director. 'loung
    qual ified to base decisions through concern forms without seeing me personally.



 I have tried to solve this problem informally by:

     Submitting HSR's, talking to clinicians, submitting concern forms.

     Note: Only one concern form is submitted wi th grievance.


 I suggest the following solution for the problem:

     Allowed to be seen by a GID evaluator specialist.



 Level I - Initial Response
 Date Forwarded:                   03/1 7/2014                      Date Returned:                             03117/20 14

 Date Due Back:                    03/21/2014                       Level l Responder:                         PILOTE, K.lMBER.L Y
 The response from the staff member or person in charge of the area/operation being grieved:

     Dr. Young is a qualifi ed health care provider and is capable of making decisions regarding your care. However, gender re-
     assignment surgery is not medically necessary. Please submit an HSR if your have any other issues. Thanks.




Date: 03/26/2014 15:0 l                          Created By: jwhillin                                                  Page   I   of   2

C IS/Facilities/Main/Misc/Grievance Detail
       Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 60 of 61


                Case 1:17-cv-00151-REB Document 4-2 Filed 04/06/17 Page 10 of 10
II 1400003 12         EDMO, MASON L          .~                            9469 1


 Level 2 - Reviewing Authority Response
 Date Forwarded:                  03/17/20 14                         Grievance Disposition:                D EN IED

 Date Due Back:                   03/31 /20 14                         Level 2 Responder:                   VALLEY, RYAN

 Date Returned:                   03/ 17/20 14                        Response sent to offender:            03/ 18/20 14
 Your grievence has been reviewed and I fi nd:

     You have been seen by medical providers that are liccensed to practice in the State of Idaho. Your gender re-assignment
     surgery is not medically necessary and therefore has not been recommended by our providers.



 Offender Appeal
 Offender Comments:

     Response to Level 2 responder: I have not been seen by your providers, or anyone in medical dealing with my gender
     reassigrunent request, medical refused to schedule any appt. , especially when I state gender reassigrunent on the H SR. Of
     course your providers have not recommended gender reassignment, l have not been able to see anyone in medical to
     address this issue. !DOC medical I Corizon is discrim inating against me because of my gender. I am being denied access to
     medical care - when I cannot even have an appt. to address this issue. I need a specialist dealing w ith GID patients, as it is a
     serious medical need.



 Level 3 - Appellate Authority Response
 Date Appealed:                   03/24/2014                           Grievance Disposition:               MOD IFIED

 Date Forwarded:                  03/24/2014                           Level 3 Responder:                   SIEGERT, RONA

  Date Due Back:                  04/09/20 14                          Response sent to offender:           03/26/2014

 Date Returned:                   03/26/20 14
  Your appeal has been reviewed and I find:

     Offender Edmo:

     Your medical record shows that you have been seen by the !SCI providers in the chronic disease program (CDP). Your last
     visit was March 6, 20 14 with Dr. Whinnery. You are followed in the C DP for GID. Please address your questions regarding
     gender reassignment surgery at your next C DP appointment.

     Rona Siegert RN, CC HP
     IDOC Health Services Director




                                                                     t


                                                                                         :;.




Date: 03/26/20 14 15:01                           Created B y: j whittin                                             Page   2   of   2
C IS/Facilities/Main/Misc/Gricvance Detail
        Case 1:17-cv-00151-BLW Document 36 Filed 09/01/17 Page 61 of 61



                                CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on the 1st day of September , 2017, I filed the foregoing

electronically through the CM/ECF system, which caused the following parties or counsel to be

served by electronic means, as more fully reflected on the Notice of Electronic Filing:


Dylan Eaton
deaton@parsonsbehle.com

J. Kevin West
kwest@parsonsbehle.com

Attorneys for Corizon Defendants

Brady James Hall
brady@melawfirm.net

Attorney for IDOC Defendants



                                                         /s/ - Lori E. Rifkin
                                                            Lori E. Rifkin




 SECOND AMENDED COMPLAINT                          -1-
 FOR DAMAGES
